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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


   In re Flint Water Cases.                Judith E. Levy
                                           United States District Judge
   ________________________________/

   This Order Relates To:

   Carthan v. Snyder
   Case No. 16-10444
   ________________________________/

   OPINION AND ORDER GRANTING IN PART AND DENYING IN
    PART PUTATIVE CLASS PLAINTIFFS’ MOTION FOR LEAVE
   TO FILE AN AMENDED COMPLAINT [620] AND GRANTING IN
    PART AND DENYING IN PART DEFENDANTS’ MOTIONS TO
                         DISMISS

        This is a class action lawsuit that is part of the litigation collectively

  referred to as the Flint Water Cases. To those following these cases, the

  facts are by now well known. Plaintiffs, residents and property owners in

  Flint, Michigan, were exposed to lead, legionella, and other contaminants

  within the municipal water supply. They allege that defendants, a

  collection of government officials and private parties, caused or prolonged

  this exposure, injuring them and damaging their property. In this

  opinion and order, the Court will address the following: plaintiffs’ motion
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  for leave to file a fourth amended complaint and defendants’ motions to

  dismiss the entire case.

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       I.       Procedural History

            Although this lawsuit is still in its early phases, its procedural

  history is complicated. This case was consolidated with eight other Flint

  water class action complaints on July 27, 2017. (Dkt. 173.)1 In September

  2017, plaintiffs filed their first amended consolidated class action

  complaint. (Dkt. 214.) A second amended complaint followed less than a

  month later. (Dkt. 238.) Then, plaintiffs filed a third amended complaint

  on January 25, 2018. (Dkt. 349.)

            Defendants filed motions to dismiss the complaint under Federal

  Rules of Civil Procedure 12(b)(1) and (6). (Dkts. 273, 274, 276–79, 281–


          Other cases were subsequently added to the consolidated docket. (Dkts. 185,
            1

  232, 441, 453.)
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  83, 294.) On August 1, 2018, after hearing oral argument on the motions

  to dismiss, the Court issued an opinion and order granting defendants’

  motions in part and denying them in part. Carthan v. Snyder (In re Flint

  Water Cases), 329 F. Supp. 3d 369 (E.D. Mich. 2018), vacated, No. 16-cv-

  10444, 2018 U.S. Dist. LEXIS 192371 (E.D. Mich. Nov. 9, 2018). Several

  defendants appealed part of the ruling to the Sixth Circuit Court of

  Appeals (Dkts. 570, 573, 575, 579, 589); others filed motions for

  reconsideration. (Dkts. 560–61.) And under the prevailing rules, the

  Sixth Circuit awaited the resolution of the motions for reconsideration

  prior to taking jurisdiction. Carthan v. Snyder, No. 18-1967 (6th Cir. Aug.

  28, 2018).

        Plaintiffs filed a motion for leave to amend the complaint for a

  fourth time before the Court had resolved the pending motions for

  reconsideration. (Dkt. 620.) The Court granted leave for plaintiffs in

  other Flint water lawsuits to file similar motions,2 and, as a result, there

  was a significant risk that the Flint Water Cases would proceed in a

  piecemeal fashion. (Dkt. 670.) The Court was managing filings from more




        2 This includes Walters v. Flint, No. 17-cv-10164, and Sirls v. Michigan, No.
  17-cv-10342. Neither of these cases are consolidated with the present case.
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  than 150 lawyers and coordinating with related federal and state cases.

  Having different lawsuits proceed on divergent allegations and differing

  claims would further complicate the case. Such a scenario would also

  burden defendants, who would be unable to wage consistent defenses. In

  the interest of handling the cases in a consistent manner, the Court

  interpreted plaintiffs’ motion as a joint motion for relief from judgment

  and a motion for leave to file an amended complaint. Finding just cause,

  the Court vacated its August 1 decision on November 9, 2018, so that it

  could consider plaintiffs’ motion for leave to amend. (Id.)3

        To fulfill its duty to ensure that the litigation proceeds efficiently,

  the Court adopted an unorthodox but necessary plan. Noting that there

  was significant overlap between the proposed fourth amended complaint

  and the third amended complaint, and that a motion for leave to amend

  and a motion to dismiss turn on substantively the same standard, the

  Court determined that it would treat defendants’ responses to the motion

  for leave to amend as addenda to their previously filed motions to

  dismiss. (Dkt. 714.) The Court would then issue an omnibus opinion and




        3 Some defendants challenged the Court’s authority to do so, but the Sixth
  Circuit upheld this decision. Carthan v. Snyder, No. 18-1967 (6th Cir. Feb. 19, 2019).
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  order, adjudicating plaintiffs’ motion for leave to file a fourth amended

  complaint, and, if successful, defendants’ motions to dismiss it in a single

  decision. Mindful of the parties’ rights, the Court also gave plaintiffs and

  defendants the opportunity to file supplemental briefing. (Id.)

        The Court now addresses plaintiffs’ motion for leave to amend the

  complaint and defendants’ motions to dismiss. Accordingly, this opinion

  and order will proceed as follows: Part II will address plaintiffs’ motion

  for leave to file a fourth amended complaint, and, for the reasons set forth

  below, the Court will grant it in part and deny it in part. In Part III,

  rather than wait for plaintiffs to file their amended complaint, the Court

  will adopt the fourth amended complaint as the operative complaint and

  rule on defendants’ motions to dismiss it. The Court’s ruling in Part II

  will be preclusive, so any claim found lacking there will not be addressed

  separately in Part III. The result will be that the fourth amended

  complaint, to the extent permitted below, will become the operative

  complaint for the purposes of this litigation.




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      II.     Motion for Leave to Amend the Complaint

                 a. Background

                       i. The Parties

            There are three types of named plaintiffs. First, the following Flint

  residents claim personal injury and property damage: Elnora Carthan, a

  seventy-two year old African American woman; Rhonda Kelso, a fifty-

  four year old African American woman who also represents the interests

  of her minor child; Darrell and Barbara Davis, both African Americans;

  Marilyn Bryson, a fifty-eight year old African American woman; and

  David Munoz, a Hispanic man.

            Next, the following Flint residents only claim personal injury:

  Michael Snyder, the personal representative of the estate of John Snyder,

  who received medical treatment in Flint before his death; Tiantha

  Williams, a forty-year old African American woman and her minor child;

  and Amber Brown and her minor child.

            Finally, the following individuals only claim property damage:

  Frances Gilcreast, on behalf of her Flint real estate partnership FG&S

  Investments; EPCO Sales, a domestic limited liability company located




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  in Flint; and Angelo’s Coney Island Palace, a Michigan corporation

  located in Flint.

        The named defendants can be separated into two groups:

  government and private defendants. First, the government defendants

  include the state defendants Rick Snyder, the former Governor of

  Michigan;4 the State of Michigan; Andy Dillon, then-Treasurer for the

  State of Michigan; Nick Lyon, the previous Director of the Michigan

  Department of Health and Human Services (MDHHS); and Nancy

  Peeler, former MDHHS Director for the Program for Maternal, Infant,

  and Early Childhood Home Visiting.

        The government defendants also include the Michigan Department

  of Environmental Quality (MDEQ) defendants Daniel Wyant, Director of

  the MDEQ; Liane Shekter-Smith, MDEQ Chief of the Office of Drinking

  Water and Municipal Assistance; Adam Rosenthal, an MDEQ Water

  Quality Analyst; Stephen Busch, an MDEQ District Supervisor; Patrick




        4  Plaintiffs sue former Governor Snyder in his official and individual capacities.
  For the sake of consistency with earlier Flint water decisions, former Governor
  Snyder will simply be referred to as Governor Snyder or the Governor where the claim
  is against him is in his individual capacity. Where the claim is against him in his
  official capacity, the count is now against Governor Gretchen Whitmer. See Fed. R.
  Civ. P. 25(d). But, again, for consistency, the Court will still refer to Governor Snyder.
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  Cook, an MDEQ Water Treatment Specialist; Michael Prysby, an MDEQ

  Engineer assigned to MDEQ District 11 (where Flint is located); and

  Bradley Wurfel, the MDEQ Director of Communications.

        Additionally,   the   government     defendants     include    the   city

  defendants Edward Kurtz, Flint’s Emergency Manager from August 2012

  to July 2013; Darnell Early, Emergency Manager from September 2013

  to January 2015; Gerald Ambrose, Emergency Manager from January

  2015 to April 2015; Dayne Walling, Mayor of Flint from August 2009 to

  November 2015; Howard Croft, Flint’s former Director of Public Works;

  Michael Glasgow, Flint’s former Utilities Administrator; Daugherty

  Johnson, another former Utilities Administrator; and the City of Flint.

        Finally, Jeffrey Wright is also a government defendant. Wright is

  the Genesee County Drain Commissioner and current Chief Executive

  Officer of the Karegnondi Water Authority (KWA).

        The private defendants include Lockwood, Andrews & Newman,

  PC, Lockwood Andrews & Newman, Inc., and the Leo. A. Daly Company

  (collectively “LAN”); and Veolia, LLC, Veolia, Inc., and Veolia Water

  (collectively “Veolia”). LAN performed consultancy work in Flint related

  to the water supply transition to the Flint River, whereas Veolia


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 performed consultancy work in Flint after the transition, in February

 and March 2015.

                  ii. Facts As Pleaded in the Third Amended
                      Complaint

       What follows is a summary of the facts set forth in the third

 amendment complaint, as summarized in the Court’s vacated August 1,

 2018, opinion and order:

             An 1897 city ordinance required that all water pipes in
       Flint be made of lead. (Dkt. 349 at 38.) In 1917, the Flint
       Water Treatment Plant (FWTP) was constructed, and drew
       water from the Flint River as Flint’s primary water source
       until 1964, when it went dormant. (Id.) From 1964 through
       2014, users of municipal water in Flint, Michigan received
       their water through the Detroit Water and Sewerage
       Department (DWSD). (Id. at 38.) In 2014, Flint’s water supply
       switched back to the Flint River, and the water was treated
       at the FWTP. (Id. at 54.) This case concerns the decision to
       return to the Flint River as Flint’s primary water source in
       2014, and the alleged injuries that arose from that switch.

             Beginning in the 1990s, Flint, along with other local
       governments relying on the DWSD water supply, had
       concerns about the cost of that supply, and began studying the
       viability of alternative water supplies. (Id. at 38.) In 2001,
       Michigan’s Department of Natural Resources noted that
       businesses along the Flint River had permits to discharge
       industrial and mining runoff, as well as petroleum and
       gasoline cleanups. (Id. at 39.) In 2004, a study by the United
       States Geological Survey, the [MDEQ], and the Flint Water
       Utilities Department determined that the Flint River was a
       highly sensitive drinking water source susceptible to
       contamination. (Id.) In 2006 and 2009, Flint and other local
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       governments commissioned a study from LAN regarding the
       viability of continuing to purchase water from the DWSD or
       constructing a new pipeline, which would be administered by
       what would later be known as the [KWA]. (Id.)

             In 2011, Flint commissioned a study by Rowe
       Engineering and LAN to determine if the Flint River could be
       safely used as a water supply. (Id.) The study determined that
       water from the Flint River would require more treatment
       than water from Lake Huron, and that proper treatment for
       Flint River water would require upgrades to the FWTP. (Id.)
       The report included an addendum that set forth over sixty-
       nine million dollars in improvements that would be necessary
       to use Flint River water through the FWTP, including the use
       of corrosion control chemicals. (Id. at 40.)

             In August 2012, Michigan Governor Rick Snyder
       appointed Edward Kurtz as Flint’s Emergency Manager,
       following the declaration of a financial emergency in Flint.
       (Id. at 40.) Emergency managers may be appointed by the
       governor of Michigan “to address a financial emergency
       within” a local government, subject to the limitations in
       Michigan Public Act 436 of 2012. M.C.L. § 141.1549(1).

             Upon appointment, an emergency manager shall
             act for and in the place and stead of the governing
             body and the office of chief administrative officer
             of the local government. The emergency manager
             shall have broad powers in receivership to rectify
             the financial emergency and to assure the fiscal
             accountability of the local government and the
             local government’s capacity to provide or cause to
             be provided necessary governmental services
             essential to the public health, safety, and welfare.
             Following appointment of an emergency manager
             and during the pendency of receivership, the
             governing body and the chief administrative
             officer of the local government shall not exercise
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             any of the powers of those offices except as may be
             specifically authorized in writing by the
             emergency manager or as otherwise provided by
             this act and are subject to any conditions required
             by the emergency manager.

       M.C.L. § 141.1549(2).

             In November 2012, Kurtz suggested to State of
       Michigan Treasurer Andy Dillon that Flint join the proposed
       KWA under the belief that doing so would save money over
       continuing to purchase water from the DWSD. (Dkt. 349 at
       40.) The KWA was to be an administrative body overseeing a
       pipeline that would use Lake Huron water for the areas it
       serviced. (Id. at 39.) Genesee County Drain Commissioner Jeff
       Wright had encouraged the formation of the KWA in 2009.
       (Id. at 40.)

             DWSD argued throughout 2012 that Flint should not
       join the KWA based on cost and reliability projections. (Id.) It
       made these arguments to Governor [Snyder], Wright, Kurtz,
       Dillon, and then-Mayor of Flint Dayne Walling. (Id.) During
       that period, Wright consistently argued to Kurtz, Dillon, and
       Governor Snyder that the DWSD studies were wrong. (Id. at
       41.) In late 2012, Dillon requested that an independent
       engineering firm assess the cost effectiveness of joining the
       KWA. (Id.) The firm concluded that remaining with DWSD
       was more cost-effective both in the short and long term. (Id.)
       On March 17, 2013, Dillon e-mailed Governor Snyder and
       stated that the KWA advocates were misrepresenting the
       benefits of a switch, and that the “[r]eport I got is that Flint
       should stay w [sic] DWSD.” (Id.)

            On March 26, 2013, MDEQ District Supervisor Stephen
       Busch sent an e-mail to MDEQ Director Daniel Wyant and
       MDEQ Chief of the Office of Drinking Water and Municipal
       Assistance Liane Shekter-Smith setting forth risks associated
       with using the Flint River as Flint’s drinking water source.
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       (Id.) The e-mail stated that the water posed increased health
       risks, including a microbial risk, a risk of trihalomethane
       (known as “Total Trihalomethanes” or “TTHM”) exposure,
       and would come with additional regulatory requirements,
       including significant upgrades to the FWTP. (Id. at 41–42.)

             On March 27, 2013, MDEQ officials acknowledged that
       the decision to stay with the DWSD or switch to the Flint
       River was not based on the scientifically determined
       suitability of the water, but instead that it was “entirely
       possible that they will be making decisions relative to cost,”
       in the words of MDEQ Deputy Director Jim Sygo. (Id. at 42.)

              On March 28, 2013, Dillon e-mailed Governor Snyder
       and other officials, and recommended that the state “support
       the City of Flint’s decision to join the KWA,” and that all
       relevant officials supported the move. (Id. at 42–43.) During
       this period, Governor Snyder was personally involved in the
       decision-making process. (Id. at 43.) On April 4, 2013,
       Governor Snyder’s Chief of Staff Dennis Muchmore informed
       Governor Snyder that “[a]s you know, the Flint people have
       requested Dillon’s ok to break away from the DWSD.” (Id.)
       Governor Snyder then instructed his Chief of Staff, Dillon, the
       Emergency Manager of Detroit Kevin Orr, DWSD, and Kurtz
       to solicit an additional offer from the DWSD before permitting
       the transition away from the DWSD. (Id.)

             DWSD submitted its final proposal later in April. (Id.)
       Kurtz and Orr, according to an e-mail from a Senior Policy
       Advisor in the Michigan Department of Treasury, determined
       that Flint would not accept the DWSD offer. (Id. at 44.)
       Governor Snyder’s Executive Director forwarded the e-mail to
       Governor Snyder on April 29, 2013, and stated that it “[l]ooks
       like they adhered to the plan.” (Id.)

            Following this communication, Governor Snyder
       authorized Kurtz to enter into a contractual relationship with
       the KWA beginning in mid-2016. (Id.) At the time Governor
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       Snyder authorized the switch, he did so knowing the Flint
       River would be used as an interim source. (Id.) In June 2013,
       Dillon, Kurtz, Wright, and Walling developed an interim plan
       to govern the provision of water to Flint between April 25,
       2014, and October 2016. (Id.)

             On June 10, 2013, LAN submitted a proposal to Flint for
       upgrading the FWTP. (Id. at 48.) The proposal included a
       “Scope of Services” section that proposed upgrades to the
       FWTP that would permit “use of the Flint River as a water
       supply,” and a “Standards of Performance” section that
       promised LAN would “exercise independent judgment” and
       “perform its duties under this contract in accordance with
       sound professional practices.” (Id. at 49.) Flint retained LAN
       to advise it on the water source transition through 2015. (Id.
       at 49–50.)

             On June 29, 2013, LAN met with representatives from
       Flint, the Genesee County Drain Commissioner’s Office, and
       MDEQ to discuss logistics related to the transition to the Flint
       River as Flint’s primary water source. (Id. at 50.) At that
       meeting, the participants determined that the Flint River was
       a viable water source, if more difficult to treat, and that
       upgrades could be made to the FWTP to properly treat the
       water. (Id.) The parties also determined that it was possible
       to conduct proper quality control with LAN’s assistance, the
       FWTP did not have the capacity to meet the needs of both
       Flint and Genesee County, and the transition could occur by
       April or May of 2014. (Id. at 51.) LAN agreed to present a
       comprehensive project proposal with cost estimates. (Id.) LAN
       ultimately provided engineering services for the transition
       from July 2013 until the transition occurred on April 25, 2014,
       including creating the plans and specification for the
       transition. (Id. at 53–54.)

             Kurtz resigned from his Emergency Manager position
       effective July 2013. (Id. at 45.) Following Michael Brown
       serving as Emergency Manager for two months, Darnell
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       Earley was appointed as Emergency Manager for Flint in
       September 2013. (Id.) Part of Earley’s job included making
       sure Flint was in compliance with state and federal laws
       governing safe drinking water. (Id.)

             The transition to the Flint River continued. On March
       14, 2014, Brian Larkin, then associate director of the
       Governor’s Office of Urban and Metropolitan Initiatives, sent
       an e-mail to others in the Governor’s office stating that the
       timeframe for switching water supplies was “less than ideal
       and could lead to some big potential disasters down the road.”
       (Id. at 45–46.)

             On March 20, 2014, MDEQ Chief of the Office of
       Drinking Water and Municipal Assistance Liane Shekter-
       Smith ensured that the City of Flint received an
       Administrative Consent Order requiring use of the FWTP,
       mandating Flint take steps to continue use of Flint River
       water or take steps to join the KWA, and attempting to
       prevent Flint’s return to use of the DWSD. (Id. at 46.)
       Shekter-Smith had been warned nearly a year earlier about
       the potential dangers of switching Flint’s water supply to the
       Flint River. (Id.)

             In April 2014, LAN, Flint, and MDEQ officials discussed
       optimization for lead in the water supply, and decided to seek
       more data before implementing an optimization method. (Id.
       at 52.)

             On April 16, 2014, former Flint Utility Administrator
       Michael Glasgow had informed MDEQ Water Analyst Adam
       Rosenthal that he would like additional time to ensure the
       FWTP was meeting requirements before giving the okay to
       distribute water from it. (Id. at 46.) On April 17, 2014,
       Glasgow informed MDEQ that the FWTP was not fit to begin
       operation, and that “management” refused to listen to his
       warnings. (Id.) On April 18, 2014, Glasgow wrote to Busch
       and MDEQ Engineer Michael Prysby and informed them that
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       although he was receiving pressure to begin distributing
       water, he would not give the okay to do so, because he did not
       feel that staff was trained or proper monitoring was in place.
       (Id. at 46–47.) Glasgow felt that “management” had its “own
       agenda.” (Id. at 47.) Glasgow later told investigators that
       former Flint Director of Public Works Howard Croft and
       former Flint Utilities Administrator Daugherty Johnson
       pressured Glasgow to approve and begin the switch to Flint
       River water. (Id.)

             At some point in 2014, MDEQ Water Treatment
       Specialist Patrick Cook signed the final permit necessary to
       restart use of the FWTP with the Flint River as the city’s
       primary water source. (Id. at 48.) The FWTP officially went
       into service and began delivering Flint River water to Flint
       water users on April 25, 2014. (Id.)

             When the transition occurred, Flint’s water treatment
       system was not prepared to safely deliver Flint River water to
       users. The river was contaminated with rock-salt chlorides
       from treatment of roads in and around Flint during past
       winters. (Id. at 52.) Chlorides are corrosive, and water must
       be treated to neutralize their corrosive properties. (Id.) This
       is particularly true in a city like Flint, where most of Flint’s
       water mains are over seventy-five years old and made of cast
       iron, leaving them subject to internal corrosion called
       “tuberculation.” (Id. at 57.) Tuberculation leads to the
       development of “biofilms,” which are layers of bacteria
       attached to the interior pipe wall. (Id.) Although LAN
       provided professional engineering services related to the
       transition, and those services included ensuring the safety of
       the water from the Flint River, it did not recommend
       treatment of the water to prevent corrosion of the pipes. (Id.
       at 53.)

             Within weeks of the transition to Flint River water,
       residents of Flint began complaining about the smell, taste,
       and color of the drinking water. (Id. at 54.) Shekter-Smith
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       received many of those complaints, including one forwarded
       from an Environmental Protection Agency (EPA) employee
       regarding rashes linked to the Flint River water. (Id.)
       Complaints and symptoms related to consumption of the
       water continued, and, on August 14, 2014, Flint water tested
       above legal limits for coliform and E. coli bacteria. (Id. at 55.)
       Flint issued boil water advisories on August 16, 2014, and
       September 5, 2014. (Id.)

             In response to these issues, Flint treated the water with
       additional chlorine. (Id.) However, because Flint’s old water
       lines were corroded, chlorine attacked the bare metal, rather
       than the bacteria, leading to further corrosion and the release
       of TTHM into the water supply. (Id.) A PowerPoint
       presentation circulated among MDEQ officials in March and
       April 2015, including Busch, Prysby, and Rosenthal, showed
       that MDEQ officials knew as early as May 2014 that Flint
       water contained elevated levels of TTHM. (Id.)

             In the summer of 2014, MDHHS reported an outbreak
       of Legionnaires’ disease in Flint. (Id. at 56.) Legionnaires’
       disease infects humans when water droplets containing
       legionella bacteria are inhaled or legionella-contaminated
       water is consumed. (Id.) Legionella can enter a water supply
       when the biofilm attached to a water pipe is stripped away, as
       happened when the Flint River water entered the city’s pipes,
       and more chlorine was added to treat the water. (Id.)

             On October 3, 2014, Flint’s Public Information Officer
       informed Earley and Ambrose about the spike in
       Legionnaires’ cases via e-mail. (Id.) Earley responded by
       denying any connection between Flint water and the
       outbreak, and stated that the city’s message should be that
       the outbreak was an internal issue at McLaren Hospital. (Id.)
       MDHHS personnel did not agree with Earley’s message. (Id.
       at 57.)



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             In September 2014, elevated blood lead levels were
       beginning to be noted in children under the age of sixteen who
       were living in Flint. (Id.) By October 1, 2014, it was known
       that the iron pipes making up most of Flint’s water
       distribution system [were] one of the causes of the
       contamination of the water. (Id.)

             On October 13, 2014, General Motors stopped the use of
       Flint River water at its engine plant due to the corrosive
       nature of the water. (Id.) Governor Snyder’s executive staff
       was immediately aware of the problem, and on October 14,
       2014, Governor Snyder’s Deputy Legal Counsel and Senior
       Policy Advisor Valerie Brader wrote an e-mail in which she
       suggested asking Earley to “consider coming back to the
       [DWSD] in full or in part as an interim solution to both the
       quality, and now the financial, problems that the current
       solution is causing.” (Id.) Brader intentionally did not
       distribute this message to MDEQ officials so that it would be
       exempted from the Freedom of Information Act [(FOIA)], but
       she did coordinate discussions with Earley and officials at
       MDEQ. (Id. at 58.) In response to this e-mail, Earley rejected
       the idea of returning to the DWSD on October 14, 2014. (Id.)
       On October 15, 2014, Governor Snyder’s Legal Counsel,
       Michael Gadola, stated that use of the Flint River as a water
       source was “downright scary,” and that Flint “should try to
       get back on the Detroit system as a stopgap ASAP before this
       thing gets too far out of control.” (Id. at 59.)

             By November 2014, LAN knew of the need to analyze
       the cause of the high TTHM levels in Flint water. (Id. at 60.)
       On November 26, 2014, LAN issued a twenty-page
       Operational Evaluation Report regarding the transition,
       which addressed compliance with EPA and MDEQ
       regulations, but did not address the potential for lead
       contamination resulting from the corrosive water flowing
       through the lead pipes in Flint’s water system. (Id.)



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             By December 31, 2014, lead monitoring showed water
       testing results exceeding the federal Lead and Copper Rule’s
       action level for lead, which is 15 parts per billion (ppb). (Id. at
       59.) On January 9, 2015, University of Michigan – Flint water
       tests revealed elevated lead levels in two locations on campus,
       which led the University to turn off certain water fountains.
       (Id.) On January 9, 2015, Earley again refused to return Flint
       to the DWSD. (Id.)

             On January 13, 2015 Earley resigned as Emergency
       Manager for Flint, and was replaced by Gerald Ambrose. (Id.
       at 78.) On January 29, 2015, DWSD offered Ambrose an
       opportunity to reconnect to the DWSD water supply, with the
       re-connection fee waived. Ambrose rejected the offer. (Id. at
       79.)

             In January 2015, LeeAnn Walters, a Flint homeowner,
       contacted the EPA regarding complaints that Flint River
       water was making her and her family physically ill. (Id.) On
       January 21, 2015, the State of Michigan ordered water coolers
       to be installed in state buildings operating in Flint, but did
       not share this information with the public. (Id. at 78.) On
       January 27, 2015, Flint received notice from the Genesee
       County Health Department that it believed the spike in
       Legionnaires’ disease cases was linked to the switch to Flint
       River water. (Id.) On January 28, 2015, MDHHS Director
       Nick Lyon received materials from an MDHHS epidemiologist
       showing the 2014 outbreak of Legionnaires’ disease in
       Genesee County. (Id.)

             On February 26, 2015, Jennifer Crooks, an EPA
       employee, e-mailed MDEQ and EPA employees regarding
       Walters’ complaints of black sediment in her water. (Id. at 80.)
       The e-mail noted very high testing results for iron
       contamination, and noted that Glasgow suggested testing for
       lead and copper, which resulted in test findings of 104 ppb,
       well over the federal action levels of 15 ppb. (Id.) The e-mail
       also noted that the high presence of lead was a sign that there
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       were other contaminants in the water, as well. (Id.) That day,
       Crooks also sent an e-mail to MDEQ and EPA
       representatives, opining that the black sediment from
       Walters’ water was actually lead, and questioning whether
       the issue was more widespread. (Id. at 80–81.) Crooks also
       wondered if Flint was using optimal corrosion control. (Id. at
       81.) On February 27, 2015, Busch told [Miguel] Del Toral [at
       the EPA] that Flint was using corrosion control, which was
       false. (Id.)

             At some point, Flint issued a request for proposals for
       engineering companies to serve as a water quality consultant
       to the city. (Id. at 60–61.) Flint sought a consultant who could
       review and evaluate the City’s water treatment process and
       its procedures to maintain and improve water quality, to
       recommend ways to maintain compliance with state and
       federal agencies, and to assist Flint in implementing those
       recommendations. (Id. at 61.) In February 2015, Veolia was
       hired to be Flint’s water quality consultant. (Id.) The contract
       retaining Veolia stated that Flint would rely on the
       “professional reputation, experience, certification, and
       ability” of Veolia. (Id. at 62.)

             On February 10, 2015, Veolia and Flint issued a joint
       press release that touted Veolia’s expertise in “handling
       challenging river water sources,” and notifying the public of
       Veolia’s role in evaluating Flint’s water treatment processes.
       (Id.) On February 10 and 12, 2015, executives at Veolia made
       statements professing the expertise of the companies and
       promising to address the issues with Flint’s water. (Id. at 62–
       63.)

             On February 18, 2015, Veolia made an interim report to
       Flint’s City Council. (Id. at 63.) The report indicated that
       Flint’s water was “in compliance with drinking water
       standards,” but that the discoloration of the water “raises
       questions.” (Id.) The report also stated that medical issues
       arising from consumption of the water were explained by the
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       fact that “[s]ome people may be sensitive to any water.” (Id.
       at 64.) LAN also released a report addressing TTHM concerns,
       but that report did not analyze the causes of the high TTHM
       levels. (Id. at 66.)

             On March 12, 2015, Veolia issued a final Water Quality
       Report. (Id. at 64.) That report was based on a 160-hour
       assessment of the FWTP, Flint’s distribution system, and
       related administrative and financial aspects of Flint’s water
       system. (Id.) The report found that Flint water was in
       compliance with state and federal water quality regulations,
       despite public concerns about the color and quality of the
       water. (Id.) The report also recommended that Flint add
       polyphosphates to the water supply to minimize the
       discoloration from iron in the pipes, but that discoloration
       might happen because of regular breaks and maintenance on
       the pipes. (Id. at 64–65.) But polyphosphates only addressed
       issues with the iron pipes, and were not a solution to the
       issues with the lead pipes. (Id. at 65.)

             Meanwhile, Cook told the EPA that Flint was using
       corrosion control with Flint River water, and forwarded
       information he knew to be false to the EPA to back up the
       contention. (Id. at 81.) On January 27, 2015, James Henry,
       Environmental Health Supervisor at the Genesee County
       Health Department, filed a [FOIA] request with Flint to
       obtain information about Flint’s water supply. (Id.) Johnson
       stated on February 5, 2015, that he had not received the
       request and would fulfill it as soon as possible. However, he
       had not done so by March 2015. (Id. at 82.) On March 10, 2015,
       Henry expressed public concern that Flint and the State of
       Michigan were stonewalling his requests for information. (Id.)

            On March 12, 2015, Shekter-Smith e-mailed Wurfel and
       MDEQ employees Jim Sygo and Sarah Howes to discuss a
       FOIA request related to legionella and stated that although
       the switch to the Flint River may have created conditions that
       supported legionella growth, there was no evidence that
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       legionella was coming directly from the FWTP or Flint’s water
       distribution system at the time. (Id. at 83.) On March 13,
       2015, Busch made statements that denied any provable
       connection between the switch to Flint River water and the
       presence of legionella bacteria in that water supply, and
       Shekter-Smith approved them. (Id.) During March, members
       of Governor Snyder’s office were aware of mobilization by
       Flint area pastors focused on the odor and appearance of Flint
       water, and of a request by those pastors for water filters. (Id.
       at 84.)

             On March 25, 2015, the Flint City Council voted to
       reconnect to the DWSD, but Ambrose rejected that vote. (Id.)
       On April 24, 2015, almost exactly one year after the switch to
       Flint River water, Cook e-mailed . . . Del Toral . . . and
       informed him, in contradiction of Cook’s earlier
       representations, that Flint was not practicing corrosion
       control at the FWTP. (Id.) On June 24, 2015, Del Toral issued
       a report noting high lead levels in Flint and the State of
       Michigan’s complicity in both the high lead levels and the
       failure to inform users of Flint’s water supply. (Id. at 84–85.)
       The report was shared with Shekter-Smith, Cook, Busch, and
       Prysby, but neither they nor any other public official named
       as a defendant in this lawsuit took measures to effectively
       address any danger identified in the report. (Id. at 85.)

             Between June 30, 2015, and July 2, 2015, Walling and
       EPA Region 5 Director Dr. Susan Hedman discussed the
       report, and Hedman stated that it was a preliminary draft
       from which it would be premature to draw any conclusions.
       (Id.)

            On July 9, 2015, Glasgow sent an e-mail to Rosenthal
       describing the clear and undeniable issues that Flint’s lead-
       and bacteria-tainted water was causing. (Id. at 86.) On July
       10, 2015, Wurfel appeared on public radio and made
       knowingly false statements asserting that Flint River water
       was safe and causing no “broad problem[s]” with elevated lead
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       levels in the water. (Id. at 85–86.) On July 22, 2015, Governor
       Snyder’s Chief of Staff wrote to Lyon and stated that the
       concerns of Flint water users were being “blown off” by the
       defendants. (Id. at 87.) On July 24, 2015, Wurfel again falsely
       stated that there were no worries about lead or copper
       contamination in Flint’s water supply. (Id.)

             In that July 24, 2015 statement, Wurfel referenced
       sampling of the water supply by MDEQ, but that sampling
       was skewed, and did not resample most lower-lead homes
       between 2014 and 2015, or any high-lead homes between 2014
       and 2015. (Id.) The sampling actually covered up high-lead
       samples. (Id. at 88.) Glasgow ultimately pleaded no contest to
       willful neglect of duty after being accused of distorting the
       water test results by asking residents of Flint to run or flush
       their water before testing, and of failing to obtain water
       samples from certain houses. (Id.)

            During this time period, Glasgow also stated that Busch
       and Prysby directed him to alter water quality reports to
       remove the highest lead levels. (Id.) Rosenthal also allegedly
       manipulated test results, including a July 28, 2015 report
       from which Rosenthal excluded high lead-level tests. (Id. at
       88–89.)

             In August 2015, Professor Marc Edwards of Virginia
       Tech, who had been testing Flint River water, announced that
       he believed there was serious lead contamination of the Flint
       water system, which constituted a major public health
       emergency. (Id. at 89.) In response, Wurfel attempted to
       discredit Edwards’ statements by calling the testing “quick”
       and implying that it was irresponsible. (Id.)

             By late 2014 or early 2015, Lyon also knew about the
       increase in children with elevated blood lead levels and
       Legionnaires’ disease cases, but did not report these findings
       to the public or other government officials, or take any steps
       to otherwise intervene. (Id. at 89–90.) In the summer of 2015,
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       Dr. Mona Hanna-Attisha used data from Hurley Hospital in
       Flint to note a rise in the number of Flint children with
       elevated blood lead levels in the second and third quarters of
       2014 to publish a study, the purpose of which was to alert
       Flint water users about the health risks associated with the
       water. (Id. at 90.) The governmental defendants immediately
       accused Dr. Hanna-Attisha of providing false information to
       the public. (Id.) On September 28, 2015, Lyon directed his
       staff to provide an analysis rebutting Dr. Hanna-Attisha’s
       findings and portraying the rise in elevated blood lead levels
       as normal results corresponding to seasonal fluctuations. (Id.
       at 90–91.) Throughout September 2015, Wurfel and the
       MDEQ continued to issue false statements claiming the water
       in Flint was safe, and that the people sounding alarms about
       Flint’s water quality were mistaken or “rogue.” (Id. at 91–92.)

             On October 2, 2015, the State of Michigan announced
       that it would create a Flint Water Advisory Task Force and
       provide water filters to Flint water users. (Id. at 92.) On
       October 8, 2015, Governor Snyder ordered Flint to reconnect
       to the DWSD, and that reconnection took place on October 16,
       2015. (Id.) On October 18, 2015, Wyant e-mailed Governor
       Snyder and admitted that MDEQ made a mistake in not
       implementing optimized corrosion control from the beginning.
       (Id. at 93.) On October 19, 2015, the City of Flint Technical
       Advisory committee listed LAN as the “owner” of the
       “corrosion control” issue. (Id.)

             Current Flint Mayor Karen Weaver declared a state of
       emergency in Flint on December 14, 2015. (Id. at 94.) On
       January 4, 2016, the Genesee County Commissioners likewise
       declared a state of emergency; Governor Snyder did so on
       January 5, 2016, and activated the Michigan National Guard
       to assist Flint on January 13, 2016. (Id.)

 Carthan, 329 F. Supp. 3d at 382–89.



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                 iii. Additional Allegations in the Proposed Fourth
                      Amended Complaint

       The proposed fourth amended complaint adds new factual

 allegations as follows. During the middle of the twentieth century, Flint’s

 water supply was taken from the Flint River and was of poor quality due

 to the presence of fecal coliform bacteria and contaminants. (Dkt. 620-3

 at 38–39.) Because of these environmental concerns, Flint began

 evaluating different water sources in the 1960s. (Id.) Flint eventually

 mothballed the FWTP around 1965, and entered into an agreement to

 receive its water from DWSD. (Id.) This agreement gave Flint the

 exclusive right to sell DWSD water to the remainder of Genesee County.

 (Id.) And the Genesee County Drain Commission (GCDC) contracted

 with Flint to buy DWSD water in order to resell it to local customers. (Id.)

       In 1973, the GCDC updated its contract with Flint. (Id. at 39.) The

 GCDC had to accept water from Flint as delivered, so long as it met “all

 requirements of the various State Regulatory Agencies.” (Id. at 39–40.)

 In return, Flint was required to sell water “generally sufficient to supply

 the County’s system use.” (Id. at 40.) In 2003, the contract was again

 updated. (Id.) It similarly required the “City . . . to sell water to the

 [GCDC] in such quantities as will meet the demands of the County
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 Agency’s customers” and “the [GCDC] agree[d] to purchase water

 exclusively from the City[.]” (Id.) This was the situation until 2014, when

 Flint transitioned back to the Flint River as its source of water. (Id. at

 52–53.)

       Flint was not the only municipality looking to switch its water

 supply in the early 2000s. Various communities in the same region had

 formed the KWA in 2009 to explore this possibility. (Id. at 42.)

 Specifically, the KWA was aiming to construct a new water pipeline

 connected to Lake Huron. (Id.) Walling was elected as the KWA’s chair,

 and Wright was elected its Chief Executive Officer. (Id.) Wright later

 stated that he was motivated to establish the KWA at least in part

 because DWSD was “the poster child for Detroit corruption.” (Id. at 43.)

       To be viable, the KWA would have to construct a water intake at

 Lake Huron and sixty-three miles of pipeline. (Id.) The system would

 have to supply sixty million gallons of water each day. (Id.) It was

 estimated that Genesee County would require forty-two million gallons a

 day and Flint eighteen. (Id.) The projected capital cost ran to

 approximately $300 million, of which Flint would shoulder eighty-five

 million and serve 34.2% of the debt. (Id.) Unlike the treated water


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 supplied by DWSD, the KWA water would be raw and would require

 considerable treatment before use. (Id.)

       By 2013, Wright had secured long-term commitments from most of

 its members to purchase their future water from the KWA. (Id. at 46.)

 The commitments were necessary to fund the bonds required to finance

 the project. (Id.) However, at that time, Flint had not committed to the

 KWA. (Id.) And Wright knew that it was doubtful the financing would be

 successful without Flint’s backing. (Id. at 46–47.) So beginning in March

 and April of that year, Wright aggressively argued the case for Flint

 joining the KWA. (Id.) All officials involved in the decision knew that the

 FWTP would have to be upgraded to process the future supply of raw

 water. (Id. at 47.)

       Yet there was a problem with Flint’s participation in the KWA: how

 would it pay for its share of the costs? Under state law, Flint could not

 issue new bonds because it was in financial receivership. (Id. at 55.) An

 Administrative Consent Order (ACO) would permit Flint to circumvent

 this problem. (Id. at 129–32.) But the only way Flint could obtain an ACO

 was from a state agency as a result of an emergency. (Id. at 132.)

 Accordingly, Flint began pursuing an ACO from the MDEQ. (Id. at 133.)


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 And although initially hesitant, the MDEQ began to help with the ACO

 even though there was no prerequisite emergency. (Id. at 133–34.) The

 MDEQ executed the ACO on March 20, 2014. (Id. at 136.) Pursuant to its

 terms, Flint was bound to adopt the interim plan to use the Flint River

 as its water source. (Id.) The bond issue that followed allowed the KWA

 project to move forward. (Id.)

       When developing the interim plan, a group of people including

 defendants Wright, Dillon, and Walling recognized that the FWTP could

 not process enough water for all of Genesee County. (Id. at 53.) So

 together with other officials, these defendants eventually planned for

 Flint to receive Flint River water while Genesee County would continue

 to receive DWSD water. (Id.) This was despite evidence that the use of

 the Flint River would “[p]ose an increased microbial risk to public

 health,” “an increased risk of disinfection by-product (carcinogen)

 exposure,” and “[r]equire significant enhancements to treatment [sic] at

 the [FWTP.]” (Id. at 131.)

       As a necessary part of the interim plan, MDEQ officials issued an

 operating permit for the FWTP in April 2014. (Id. at 52.) However, they

 did so without following the required procedures. (Id. at 126.) Federal


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 law requires states to “review and approve the addition of a new source

 or long-term change in water treatment[.]” (Id. at 136.) In turn, Michigan

 law regulates the MDEQ’s authority to issue permits that impact the

 State’s water systems. Before issuing a permit for certain water sources,

 the MDEQ is required to provide a public comment period of “not less

 than 45 days.” (Id. at 136–37.) This regulation applied to the FWTP

 permitting process. (Id. at 137.) Publicly, the MDEQ stated that “the city

 would just continue to buy water from [DWSD]” if no permit was issued

 in time. (Id. at 138.) And Flint officials assured people that there would

 be a series of open forums to permit public questions. (Id.) But when Flint

 eventually submitted its permit application on March 31, 2013, it was

 approved in a matter of days, without an opportunity for public comment.

 (Id. at 138–39.)

       Flint transitioned to the Flint River on April 25, 2014. (Id. at 62.)

 And in the months that followed, members of Governor Snyder’s senior

 staff began to discuss the possibility of lead contamination. (Id. at 104–

 05.) In March 2015, a Flint resident wrote an open letter to Walling

 stating that “the water is dangerous to our health!” (Id. at 158.) Ambrose

 eventually received the letter, forwarding it to Flint’s public relations


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 firm simply stating, “[w]elcome to Monday.” (Id.) Civic groups tried to get

 the government defendants to take the issue seriously. (Id. at 158–59.)

 But officials dismissed their concerns as unwarranted. (Id.)

       Even as the EPA continued to uncover evidence of lead

 contamination and some senior members of Governor Snyder’s

 administration voiced the view that the problem was not being taken

 seriously (id. at 159–60), many officials continued to deny that anything

 was wrong. (Id. at 160–62.) Instead, they put it down to “old time

 negative racial experiences.” (Id. at 161.) Several officials recommended

 that more money be spent on public relations to combat the issue, rather

 than looking to resolve the underlying problem. (Id. at 159.)

       On April 28, 2015, Governor Snyder received an e-mail from his

 chief of staff advising him that the water issue in Flint continued to be a

 “danger flag” for the administration. (Id. at 92.) Later that summer, the

 Governor’s Director of Urban Initiatives discussed with him the growing

 concerns among Flint residents that they were being exposed to

 contaminated water. (Id. at 94.) And on September 25, the Governor’s

 chief of staff again e-mailed the Governor to discuss the issue of lead

 exposure and the potential political implications. (Id. at 103.) In the same


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 communication, the chief of staff opined that the residents of Flint were

 having their concerns about water quality inappropriately dismissed. (Id.

 at 104.) The Governor received this e-mail almost a week before he

 publicly acknowledged in October 2015 that Flint’s water was

 contaminated with lead. (Id. 103.) In the meantime, MDEQ officials

 continued to tell the public that “the drinking water distributed to city

 customers currently meets all drinking water standards[.]” (Id. at 162.)

       Following his public acknowledgment of the crisis in October 2015,

 the Governor was told in December that in addition to elevated lead

 levels, Flint residents were also at risk of legionella exposure. (Id. at 101.)

 Despite all this knowledge, Governor Snyder did not disclose this risk

 when he declared a state of emergency on January 5, 2016. (Id. at 102.)

 It was not until January 13 that he publicly admitted that Flint’s water

 contained legionella bacteria. (Id.) He did this while activating the

 Michigan National Guard to assist the people of Flint. (Id.) On January

 14, Governor Snyder asked the federal government to issue an emergency

 declaration. (Id.) The federal government did so two days later. (Id.)

       In the aftermath of the crisis, facts about how the MDEQ dealt with

 the disaster came to light. For example, the MDEQ failed to comply with


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 various rules and regulations. (Id. at 126.) State law requires the MDEQ

 to notify the public if a source of water is found to be out of compliance.

 (Id. at 142.) In August 2014, MDEQ officials discussed whether a Flint

 boil water advisory was caused by a sampling error in a test or a high

 fecal coliform result. (Id.) It was far from certain that sampling error was

 the culprit. (Id.) And although the MDEQ suspected that the water was

 contaminated, no one made an effort to investigate the issue or notify the

 public. (Id. at 143–44.)

       Additionally, the MDEQ lacked a nondiscrimination policy required

 by federal law. (Id. at 126.) In 1992, the EPA found that the MDEQ had

 discriminated against Flint’s majority African American population in

 the public participation processes for a power station permit. (Id. at 145–

 46.) In conducting its investigation, the EPA concluded that the MDEQ

 had insufficient formalized safeguards to protect against operational

 discrimination as required by federal regulations. (Id. at 146.) In 2014,

 the EPA informed the MDEQ that it was still not in compliance and

 needed to have in place a non-discrimination policy. (Id. at 147.) And even

 when the MDEQ provided the EPA with a written policy, the EPA




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 determined that it was legally insufficient. (Id.) The same defective policy

 remains in place. (Id.)

       Throughout the crisis and its aftermath, the concerns and fears of

 the people of Flint were not taken seriously. In the opinion of some

 government officials, residents “making noise about civil unrest, violence,

 [Michigan State Police] shootings and an [emergency manager], [were]

 the naysayers[.]” (Id. at 156.) These officials believed that too many of

 them had “their handout [sic] and their voices raised,” and caving to their

 demands was part of the reason that Flint had been “placed in

 receivership twice in the past decade.” (Id. at 156–57.) In the view of

 these officials, the problem an “entitlement mentality.” (Id. at 157.)

 Ultimately, the Task Force charged with investigating the causes of the

 crisis summed it up: “Flint residents, who are majority Black or African

 American and among the most impoverished of any metropolitan area in

 the United States, did not enjoy the same degree of protection from

 environmental and health hazards as that provided to other

 communities.” 5 (Id. at 165.)


       5 According to the fourth amended complaint, Flint’s population is 54.3%
 African American. (Dkt. 620-3 at 152.)


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                   iv. Prior Flint Water Cases

       Litigation from the Flint Water Cases has already resulted in

 several opinions from the Sixth Circuit. The Court must follow these as

 they are binding precedent, including Guertin v. Michigan, 912 F.3d 907

 (6th Cir. 2019); Boler v. Earley, 865 F.3d 391 (6th Cir. 2017); and Mays v.

 City of Flint, 871 F.3d 437 (6th Cir. 2017).6 Other decisions have been

 issued by this Court, which will be adhered to where appropriate. This

 includes Guertin v. Michigan, No. 16-cv-12412, 2017 U.S. Dist. LEXIS

 85544, (E.D. Mich. June 5, 2017), and the Court’s vacated August 1, 2018

 opinion in the present case. 329 F. Supp. 3d 369.

              b. Standard of Review

       Plaintiffs seek leave to amend the complaint under Federal Rule of

 Civil Procedure 15(a)(2). Rule 15(a)(2) states that “a party may amend its

 pleading only with . . . the court’s leave.”7 However, “court[s] should freely

 give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2); see also




       6 On remand from the Sixth Circuit, Boler was consolidated with the present
 case. (Dkt. 453.)

       7 Where, as here, leave is sought following a dispositive ruling, the moving
 party must normally have the ruling set aside. Morse v. McWhorter, 290 F.3d 795,
 799 (6th Cir. 2002). But in this case, the ruling has already been vacated. (Dkt. 670.)
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 Leisure Caviar, LLC v. U.S. Fish & Wildlife Serv., 616 F.3d 612, 615 (6th

 Cir. 2010) (noting that Rule 15(a) requests are normally liberally

 granted). And when evaluating the interests of justice, courts consider

 various factors. These include “‘[u]ndue delay in filing, lack of notice to

 the opposing party, bad faith by the moving party, repeated failure to

 cure deficiencies by previous amendments, [and] undue prejudice to the

 opposing party[.]’” Wade v. Knoxville Utils. Bd., 259 F.3d 452, 458–59

 (6th Cir. 2001) (quoting Head v. Jellico Hous. Auth., 870 F.2d 1117, 1123

 (6th Cir.1989)). Mere delay on its own is insufficient to warrant denial.

 Oleson v. United States, 27 F. App’x 566, 569 (6th Cir. 2001). Instead,

 courts examine the competing interests of the litigants and the likelihood

 of prejudice to the non-moving party. See Morse, 290 F.3d at 799.

       Yet regardless of the equities, leave must be denied if an

 amendment would be futile. Parchman v. SLM Corp., 896 F.3d 728, 736,

 738 (6th Cir. 2018) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)). And

 a “proposed amendment is futile if [it] could not withstand a Rule 12(b)(6)

 motion[.]” Beydoun v. Sessions, 871 F.3d 459, 469 (6th Cir. 2017). Under

 Rule 12(b)(6), the Court must “construe the complaint in the light most

 favorable to the plaintiff and accept all allegations as true.” Keys v.


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 Humana, Inc., 684 F.3d 605, 608 (6th Cir. 2012). “To survive a motion to

 dismiss, a complaint must contain sufficient factual matter, accepted as

 true, to state a claim to relief that is plausible.” Ashcroft v. Iqbal, 556

 U.S. 662, 678 (2009). A plausible claim need not contain “detailed factual

 allegations,” but it must contain more than “labels and conclusions” or “a

 formulaic recitation of the elements of a cause of action.” Bell Atl. Corp.

 v. Twombly, 550 U.S. 544, 555 (2007). Ultimately, a claim is only facially

 plausible “when the plaintiff pleads factual content that allows the court

 to draw the reasonable inference that the defendant is liable for the

 misconduct alleged.” Iqbal, 556 U.S. at 678.

             c. Threshold Issues

                   i. Jurisdiction

       Several parties question the Court’s jurisdiction to rule on

 plaintiffs’ motion. (Dkt. 635 at 4–5; Dkt. 650 at 1–2; Dkt. 653 at 12–13;

 Dkt. 655 at 12–14; Dkt. 657 at 11–12.) They argue that the Court was

 divested of jurisdiction by appeals filed in response to its August 1, 2018

 opinion and order. (Id.) However, as explained in its November 9, 2018

 order, the Court retained jurisdiction. (Dkt. 670.) And the Sixth Circuit

 recently affirmed this position, dismissing defendants’ appeals in the


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 process. Carthan v. Snyder, No. 18-1967 (6th Cir. Feb. 19, 2019). As such,

 the Court retains the authority to rule on the present motion.

                  ii. Class Definitions

       Plaintiffs seek leave to amend the class definitions. The third

 amended complaint broadly defined the class as including all individuals

 and entities who were exposed to Flint’s contaminated water and who

 experienced injuries or damages to their persons or property. (Dkt. 349

 at 112–13.) The fourth amended complaint keeps this general definition

 but adds a subclass of African Americans. (Dkt. 620-3 at 167–68.)

 Plaintiffs also further divide the proposed classes into a series of even

 smaller subclasses based on property damage, personal injury, injunctive

 relief, and a set of common issues relating to liability and causation. (Id.

 at 167–72.)

       Class certification should occur “at an early practicable time.” Fed.

 R. Civ. P. 23(c)(1)(A). The Court is currently preparing a comprehensive

 case management order that will set forth the timeframe for

 consideration of class definitions and certification. Therefore, plaintiffs

 may amend the complaint to include the amended class definitions with

 the understanding that this issue will be revisited.


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             d. Main Analysis

       Plaintiffs seek leave to amend the following six counts:

    Count              Claim                          Defendants
                 42 U.S.C. § 1983 -
      I                                        All government defendants
                  Bodily Integrity
                                            Snyder, Dillon, Wright, Ambrose,
                 42 U.S.C. § 1983 -
    II-III                                   Kurtz, Earley, Wyant, Shekter-
                 Equal Protection
                                               Smith, Prysby, and Busch
               42 U.S.C. § 1985(3) -        Snyder, Dillon, Wright, Ambrose,
      IV
                   Conspiracy                      Kurtz, and Earley
                                            Snyder, Dillon, Wright, Ambrose,
                Elliott-Larsen Civil        Kurtz, Earley, The City of Flint,
      V
                     Rights Act              Wyant, Shekter-Smith, Prysby,
                                                       and Busch
                                             Snyder, Dillon, Lyon, Shekter-
                                             Smith, Rosenthal, Busch, Cook,
     XIV         Gross Negligence            Prysby, Wurfel, Wright, Kurtz,
                                            Earley, Ambrose, Croft, Johnson,
                                                     and Glasgow.

                   i. Competing Interests and Likelihood of
                      Prejudice

       Some of the defendants argue that leave to amend the complaint

 should be denied because plaintiffs’ request is unduly delayed. (Dkt. 651

 at 19–20; Dkt. 653 at 33–34). The Court disagrees.

       It is true that the present case has been pending for several years.

 This is now plaintiffs’ fourth amended complaint, and if this were a

 routine case, their attempt to amend the pleadings again might be

 unusual. But this litigation is far from routine. The harm alleged and the
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 number of parties involved are extraordinary. What started out as a

 series of individual suits has become a large consolidated action. And the

 complex nature of the claims coupled with less than straightforward

 procedure must be considered. This weighs in plaintiffs’ favor.

       Conversely, defendants do not explain how they will be prejudiced.

 Having resisted the start of discovery, they cannot claim that they will

 be subject to duplicative discovery. See Morse, 290 F.3d at 800–01.

 Plaintiffs have not changed their allegations so much that defendants

 will need to completely overhaul their strategy. See Prather v. Dayton

 Power & Light Co., 918 F.2d 1255, 1259 (6th Cir. 1990). And the fourth

 amended complaint does not contain new claims so far outside the scope

 of the third amended complaint such that granting leave to amend may

 later lead to confusion. See Lover v. D.C., 248 F.R.D. 319, 323 (D.D.C.

 2008). As a result, leave to amend will not be denied on the basis of

 prejudice. Instead, the Court will examine each count for futility.

                  ii. Futility of Amendments

                        1. Bodily Integrity

       Plaintiffs first seek leave to amend their bodily integrity claim

 brought under § 1983 against defendant Governor Snyder. (Dkt. 620-1 at


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 13.) In their view, the newly pleaded allegations establish that the

 Governor was aware of the significant risks posed by the Flint River

 water as early as April 2015, but he did nothing to inform Flint’s

 residents until the crisis could no longer be denied many months later.

 (Id. at 14–15.) Additionally, Governor Snyder not only denied the crisis

 in the intervening period, but later played down the risks for months

 after having publicly acknowledged the disaster. (Id.) Because plaintiffs’

 state a plausible bodily integrity claim against Governor Snyder,

 granting leave to include it would not be futile.

                              a. Constitutional Violation

       The right to bodily integrity is a fundamental interest protected by

 the Due Process Clause of the Fourteenth Amendment. Guertin, 912 F.3d

 at 918–19; Guertin, 2017 U.S. Dist. LEXIS 85544, at *63 (citing Union

 Pac. Ry. Co. v. Botsford, 141 U.S. 250, 251 (1891)). And although

 violations of the right to bodily integrity usually arise in the context of

 physical punishment, the scope of the right is not limited to that context.

 Kallstrom v. City of Columbus, 136 F.3d 1055, 1062–63 (6th Cir. 1998).

 For instance, the “forcible injection of medication into a nonconsenting

 person’s body represents a substantial interference with that person’s


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 liberty[.]” Guertin, 912 F.3d at 919 (citing Washington v. Harper, 494 U.S.

 210, 229 (1990)). And “compulsory treatment with anti-psychotic drugs

 may [also] invade a patient’s interest in bodily integrity[.]” Guertin, 2017

 U.S. Dist. LEXIS 85544, at *66 (citing Lojuk v. Quandt, 706 F.2d 1456,

 1465–66 (7th Cir. 1983)). The key is whether the intrusion is consensual.

 See Guertin, 912 F.3d at 920. There is no difference between the forced

 invasion of a person’s body and misleading that person into consuming a

 substance involuntarily. Guertin, 2017 U.S. Dist. LEXIS 85544, at *71

 (citing Heinrich v. Sweet, 62 F. Supp. 2d 282, 313–14 (D. Mass. 1999)).

 As such, officials can violate an individual’s bodily integrity by

 introducing life-threatening substances into that person’s body without

 their consent. Guertin, 2017 U.S. Dist. LEXIS 85544, at *65 (citing

 Washington, 494 U.S. at 229).

       However, to state a claim, plaintiffs must do more than point to the

 violation of a protected interest; they must also demonstrate that it was

 infringed arbitrarily. Guertin, 912 F.3d at 922. But see Range v. Douglas,

 763 F.3d 573, 589 (6th Cir. 2014) (observing that in some contexts

 government action may violate substantive due process without a liberty

 interest at stake). And with executive action, as here, only the most


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 egregious conduct can be classified as unconstitutionally arbitrary. Cty.

 of Sacramento v. Lewis, 523 U.S. 833, 846 (1998). In legal terms, the

 conduct must “shock[ ] the conscience.” Guertin, 2017 U.S. Dist. LEXIS

 85544, at *63 (quoting Lewis, 523 U.S. at 846).

       Whether government action shocks the conscience depends on the

 situation. Ewolski v. City of Brunswick, 287 F.3d 492, 510 (6th Cir. 2002).

 Where unforeseen circumstances demand the immediate judgment of an

 executive official, liability turns on whether decisions were made

 “maliciously and sadistically for the very purpose of causing harm.”

 Lewis, 523 U.S. at 852–53 (quoting Whitley v. Albers, 475 U.S. 312, 320–

 21 (1986)). But where an executive official has time for deliberation

 before acting, conduct taken with “deliberate indifference” to the rights

 of others “shocks the conscience.” See Claybrook v. Birchwell, 199 F.3d

 350, 359 (6th Cir. 2000). This case involves the latter of these two

 situations. And as a result, plaintiffs must demonstrate that (1) officials

 knew of facts from which they could infer a “substantial risk of serious

 harm,” (2) that they did infer it, and (3) that they nonetheless acted with

 indifference, Range, 763 F.3d at 591 (citing Ewolski, 287 F.3d at 513),

 demonstrating a callous disregard towards the rights of those affected,


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 Guertin, 912 F.3d at 924 (quoting Schroder v. City of Fort Thomas, 412

 F.3d 724, 730 (6th Cir. 2005)).

       As a preliminary matter, plaintiffs point to a bodily integrity

 violation. This is not a case about the right to a contaminant-free

 environment or clean water. But see Guertin, 912 F.3d at 955–57

 (McKeague, J., dissenting). Rather, this case implicates the consumption

 of life-threatening substances. Indeed, neither side disagrees that lead

 and legionella are life threatening, nor that plaintiffs ingested these

 contaminants and others through the water supply. This intrusion was

 also involuntary. “[I]t was involuntary because defendants hid from

 plaintiffs that Flint’s water contained dangerous levels of lead,” Guertin,

 2017 U.S. Dist. LEXIS 85544, at *71, and, “because under state and

 municipal law, plaintiffs were not permitted to receive water in any other

 way[,]” id. (citing Flint Code of Ord. §§ 46-25, 46-26, 46-50(b)). Plaintiffs’

 claim therefore implicates the right to bodily integrity.

       Plaintiffs also plead facts which, when taken as true, show that

 Governor Snyder was deliberately indifferent. First, plaintiffs plausibly

 allege that Governor Snyder knew of facts from which he could infer that

 plaintiffs faced a substantial risk of serious harm. As early as March


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 2014, members of the Governor’s administration were warning that

 transitioning to the Flint River could lead to a potential disaster. Initial

 warning signs included an outbreak of Legionnaires’ disease in the Flint

 area. And by October 2014, senior staff, including the Governor’s Chief of

 Staff, were discussing the need to return to DWSD water because of a

 growing awareness that the treated Flint River water did not meet

 established quality standards. In July 2015, this clamor continued to

 build when the Governor’s Chief of Staff wrote that concerns over lead

 contamination were being inappropriately dismissed. There was also a

 public outcry. Concerned religious leaders informed the administration

 of problems with the Flint River. News articles discussed lead in Flint’s

 drinking water. And General Motors stopped using Flint water because

 it was corroding machinery. Considering the seriousness of the potential

 problem, the widespread reports, and the seniority of the government

 staff involved, it is reasonable to infer from plaintiffs’ allegations that

 Governor Snyder was aware of this information. As a result, the

 Governor possessed sufficient facts from which he could have deduced

 that plaintiffs faced a substantial risk of serious harm from the Flint

 River.


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       Second, plaintiffs successfully claim that Governor Snyder did in

 fact infer that plaintiffs faced such a risk of harm. In January 2015, the

 Governor met with other government officials to discuss the ongoing

 threat to public health posed by legionella bacteria in the Flint River

 water. A couple of months later, the Governor and his staff discussed

 whether to distribute water filters to Flint residents as a form of

 mitigation against possible contamination. At the same time, the

 Governor’s Chief of Staff informed the Governor that the water issue in

 Flint continued to be “a danger flag” and was something that needed

 addressing sooner rather than later. (Id. at 92.) And in the summer, a

 senior member of the administration spoke with Governor Snyder about

 the fear that Flint’s residents were being exposed to toxic levels of lead

 through the Flint River water. So when plaintiffs state that by February

 2015, the Governor was fully aware of a public health threat posed by the

 water supply in Flint, and that by July 2015, at the very latest, the

 Governor knew that the water supply was contaminated, these

 conclusions are supported by well-pleaded factual allegations. It is

 reasonable to infer that Governor Snyder knew that the residents of Flint

 faced a substantial risk of serious harm emanating from the water.


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       Third,   plaintiffs   plausibly    state   that   the   Governor     acted

 indifferently to the risk of harm they faced, demonstrating a callous

 disregard for their right to bodily integrity. This indifference manifested

 itself in two ways. Initially, the Governor was indifferent because instead

 of mitigating the risk of harm caused by the contaminated water, he

 covered it up. In private, he worried about the need to return Flint to

 DWSD water and the political implications of the crisis. But in public, he

 denied all knowledge, despite being aware of the developing crisis. As a

 result, plaintiffs were lured into a false sense of security. They could have

 taken protective measures, if only they had known what the Governor

 knew. Instead, the Governor misled them into assuming that nothing

 was wrong. Governor Snyder’s administration even encouraged them to

 continue to drink and bathe in the water.

       Subsequently, the Governor continued to show indifference to the

 risk of harm plaintiffs faced. Even once he acknowledged the crisis, he

 downplayed the risks that plaintiffs faced. By October 2015, the Governor

 had publicly admitted that the water was contaminated and Flint had

 returned to DWSD water. Yet the Governor still waited many months to

 declare a state of emergency. This was despite local area leaders


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 requesting such a declaration as far back as March 2015. Without a state

 of emergency, plaintiffs were denied valuable resources that could have

 helped abate the harm that they were still suffering. It is reasonable to

 infer that the rationale for the delay was in part because the Governor

 wanted to act as if the issue was resolved. But by downplaying the

 continuing risk of harm, the Governor undermined efforts to enact

 protective measures. And as with his initial form of indifference, this led

 to plaintiffs involuntarily ingesting lead and other contaminants,

 violating their bodily integrity.

       These two ways of showing indifference represent a continuum of

 actions, more powerful combined than when viewed in isolation. They

 depict indifference in the form of deception, from the Governor’s

 unwillingness to admit the crisis, to his downplaying of its severity once

 it became public knowledge. Viewed as a whole, the allegations plausibly

 describe “conscience shocking” conduct. Governor Snyder’s actions were

 deliberately indifference and exhibited a callous disregard for plaintiffs’

 right to bodily integrity.8


       8 In response, Governor Snyder points out that the new allegations do not
 indicate that he knew of the risks posed by the Flint River prior to the decision to
 switch water sources. (Dkt. 654 at 19.) And because, in his view, the right to bodily
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                                 b. Qualified Immunity

       Although plaintiffs plausibly plead that Governor Snyder violated

 their right to bodily integrity, qualified immunity shields public officials

 “from undue interference with their duties and from potentially disabling

 threats of liability.” Harlow v. Fitzgerald, 457 U.S. 800, 806 (1982). It

 provides protection to government officials who make reasonable yet

 mistaken decisions that involve open questions of law. Ashcroft v. al-

 Kidd, 563 U.S. 731, 743 (2011). But an official cannot avail herself of

 qualified immunity if the right violated was “clearly established at the

 time of the challenged conduct.” Guertin, 912 F.3d at 917 (quoting al-

 Kidd, 563 U.S. at 741–42). If controlling caselaw or a body of persuasive

 authority has put the constitutional question beyond debate, government




 integrity only limits the State’s power to take affirmative action, Governor Snyder
 argues that what he knew after the switch is irrelevant information. (Id. at 20.)
 Moreover, according to the Governor, the Constitution does not guarantee that the
 State will remedy local water contamination issues. (Id.)

        However, the Governor misunderstands the nature of plaintiffs’ claim.
 Plaintiffs do not argue that Governor Snyder violated their right to bodily integrity
 by authorizing the switch to the Flint River. Nor do they assert that Governor Snyder
 should have remediated a polluted water source. Rather, plaintiffs contend that the
 Governor was indifferent to their rights by concealing the risk of harm posed by
 Flint’s contaminated water.


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 officials are on notice that their conduct must conform to an established

 legal standard. Id. at 932.

       As the Sixth Circuit recently held, the right to bodily integrity was

 clearly established at the time of the challenged conduct. Id. at 932–35.

 “Knowing the Flint River water was unsafe for public use,” failing to take

 “steps to counter its problems, and assuring the public in the meantime

 that it was safe” was “‘conduct that would alert a reasonable person to

 the likelihood of personal liability.” Id. at 933 (quoting Scicluna v. Wells,

 345 F.3d 441, 446 (6th Cir. 2003)). In other words, any reasonable official

 should have known that “contaminat[ing] a community through its public

 water supply with deliberate indifference is a government invasion of the

 highest magnitude.” Id. As a result, the Governor is not entitled to

 qualified immunity.

                        2. Equal Protection

       Plaintiffs also seek leave to revise their equal protection claims

 under § 1983. Plaintiffs’ third amended complaint included two equal

 protection counts, one alleging discrimination on the basis of race and the

 other on wealth. (Dkt. 349 at 119, 123.) Under both counts, plaintiffs

 alleged that defendants Snyder, Dillon, Wright, Walling, Ambrose,


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 Kurtz, and Earley developed and executed an interim plan to deliver

 contaminated water to the predominantly poor African American

 residents of Flint, while providing the mostly white higher income

 residents of Genesee County with safe water. (Id. at 120–21, 124–25.)

       The fourth amended complaint makes two important changes.

 First, only those plaintiffs who are African American allege race

 discrimination. (Dkt. 620-3 at 174, 180.) Second, both counts are broken

 into three theories of liability: (1) like in the third amended complaint,

 defendants Snyder, Dillon, Wright, Ambrose, Kurtz, and Earley violated

 their right to equal protection by providing Flint with contaminated

 water while supplying the remainder of Genesee County with clean water

 (id. at 174–76, 181–83);9 (2) Governor Snyder violated their right to equal

 protection by delaying his decision to declare a state of emergency in Flint

 while promptly doing so in other emergency situations (id. at 177–78,

 183–84); and (3) MDEQ defendants Wyant, Shekter-Smith, Prysby, and

 Busch violated their right to equal protection by not enforcing certain


       9This theory is identical to that stated in the third amended complaint, with
 the omission of Dayne Walling as a named defendant. However, the proposed
 complaint is somewhat inconsistent on this point. Walling is omitted as a named
 defendant but is still referred to in subsequent allegations. (Dkt. 620-3 at 174–86.)
 The Court assumes that plaintiffs intended to omit Walling.
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 laws and regulations in Flint. (Id.) For the reasons that follow, the fourth

 amended complaint fails to state an equal protection claim under any of

 these theories, and so granting leave to amend the complaint to include

 these claims would be futile.

                                       *

       “The Equal Protection Clause of the Fourteenth Amendment

 commands that no state shall ‘deny to any person within its jurisdiction

 the equal protection of the laws[.]’” City of Cleburne v. Cleburne Living

 Ctr., 473 U.S. 432, 439 (1985) (citing Plyler v. Doe, 457 U.S. 202, 216

 (1982)). Broadly speaking, it requires that state officials treat all persons

 alike, under like circumstances and like conditions. Cleburne, 473 U.S.

 at 439; see also Rondigo, L.L.C. v. Twp. of Richmond, 641 F.3d 673, 682

 (6th Cir. 2011). When officials treat similar individuals differently, the

 Equal Protection Clause demands a justification. Engquist v. Or. Dep’t of

 Agric., 553 U.S. 591, 602 (2008). But because all state action tends to

 disfavor some more than others, courts take this practical reality into

 account by evaluating state action under differing levels of scrutiny. See

 Breck v. Michigan, 203 F.3d 392, 395 (6th Cir. 2000). If official conduct

 “neither burdens a fundamental right nor targets a suspect class,” courts


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 will uphold it “so long as it bears a rational relation to some legitimate

 end.” Romer v. Evans, 517 U.S. 620, 631 (1996); see also Radvansky v.

 City of Olmsted Falls, 395 F.3d 291, 312 (6th Cir. 2005) (citing Vacco v.

 Quill, 521 U.S. 793, 799 (1997)).

                              a. Wealth-Based Discrimination

       Plaintiffs fail to state a claim that defendants violated their right

 to equal protection on the basis of wealth discrimination. A class of less

 wealthy persons is not a protected class for the purposes of equal

 protection. Molina-Crespo v. U.S. Merit Sys. Prot. Bd., 547 F.3d 651, 660

 (6th Cir. 2008). The challenged conduct will therefore be upheld if it

 satisfies a rational basis. Romer, 517 U.S. at 631.

       Under rational basis review, official decisions are afforded a strong

 presumption of validity. See Walker v. Bain, 257 F.3d 660, 668 (6th Cir.

 2001). And even at the motion to dismiss stage, this presents a formidable

 bar for plaintiffs to surmount. Theile v. Michigan, 891 F.3d 240, 243 (6th

 Cir. 2018). To plausibly allege that state action fails under rational basis

 review, plaintiffs must negate “every conceivable basis” which might

 support the challenged conduct. Davis v. Prison Health Servs., 679 F.3d

 433, 438 (6th Cir. 2012). Courts do not consider the wisdom of the


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 challenged action. Theile, 891 F.3d at 244 (citing Breck, 203 F.3d at 395).

 And defendants do not need to offer any justification. Walker, 257 F.3d

 at 668. It is enough that the reviewing court can fairly conceive of one

 existing. Id.

       As outlined above, plaintiffs’ first theory is that defendants Snyder,

 Dillon, Wright, Ambrose, Kurtz, and Earley created an interim plan to

 supply Flint with Flint River water, while continuing to provide the

 remainder of Genesee County with DWSD water. (Dkt. 620-3 at 181–82.)

 In plaintiffs’ view, there was no rational basis for this decision. (Id. at

 182–83.)

       Even assuming that Flint and the remainder of Genesee County

 were similarly situated for equal protection purposes, there are many

 rational reasons that could justify providing only Flint with Flint River

 water. The KWA could not proceed without Flint’s participation. Flint’s

 participation was contingent on the FWTP’s ability to process the raw

 water that the KWA pipeline would provide, and upgrading the FWTP

 would cost millions. One key way defendants could accomplish this was

 to stop paying for the relatively expensive DWSD water and to start




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 taking water from the Flint River. Indeed, even plaintiffs allege that this

 was a critical part of the interim plan.

       In hindsight, this was a terrible decision. It placed financial

 interests above the health and safety of Flint’s residents. Assuming the

 allegations are true, defendants harmed plaintiffs in the pursuit of fiscal

 expedience. But the Court cannot consider the wisdom of the decision.

 And it does not matter that defendants may have had other options

 available to them. It only matters that there is a rational basis for the

 decision. As such, plaintiffs’ first theory fails to state a claim.

       Plaintiffs’ second theory fails for a similar reason. They draw a

 comparison between Flint and other communities with respect to

 emergencies across the state. Governor Snyder allegedly waited several

 months to declare a state of emergency in Flint from the date he publicly

 acknowledged the seriousness of the problem. (Dkt. 620-3 at 102). With

 other disasters, he typically acted within days. (Id. at 152–53.) Plaintiffs

 again argue that there was no rational basis for this difference in

 treatment. (Id. at 183.)

       Again, even assuming that Flint and these other disaster-struck

 communities were similarly situated for equal protection purposes, there


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 is a conceivable rational basis for treating them differently. In part,

 plaintiffs were harmed by the Governor’s delay in declaring a state of

 emergency because it limited their access to state resources to remedy

 the problem. It is thus conceivable that the Governor initially decided not

 to expend these resources, believing that the Flint Water Crisis could be

 addressed without them. In retrospect, this was objectively the wrong

 decision. And the Governor undoubtedly was within his authority to

 declare a state of emergency at an earlier time. But the Court cannot

 inquire further under rational basis review. As a result, plaintiffs’ second

 theory also fails to state a claim.

       Plaintiffs’ third theory runs into a different problem. Plaintiffs

 allege that the MDEQ defendants Wyant, Shekter-Smith, Prysby, and

 Busch treated them differently by:

       (1) granting a fraudulent [ACO] to allow Flint to borrow funds
       to participate in the KWA; (2) issuing the [FWTP] a permit
       pursuant to the Michigan Safe Drinking Water Act without
       observing the statutorily mandated 45-day notice and
       comment period; (3) failing to comply with sampling and
       optimized corrosion control protocols as required under the
       State and Federal Lead and Copper Rule; and (4) lacking any
       nondiscrimination policy for more than 30 years and ignoring
       EPA requirements to update its policy for years.




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 (Id. at 183–84.) However, they fail to explain how this treatment differed

 from that of a similarly situated class of persons.

       Class-based discrimination is the essence of an equal protection

 claim. See Herron v. Harrison, 203 F.3d 410, 417 (6th Cir. 2000) (citing

 cases). In limited situations, a plaintiff does not need to identify a specific

 group of persons who were treated differently. For instance, if

 government conduct was premised on a protected classification such as

 race or gender, a showing of discriminatory purpose may suffice. See, e.g.,

 Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264–

 68 (1977) (explaining that a single act, if motivated by a desire to treat

 persons differently on the basis of race, can result in a violation of the

 Equal Protection Clause). However, outside of that narrow range of cases,

 plaintiffs must plead sufficient facts from which it can be inferred that

 defendants treated similarly situated individuals differently. Braun v.

 Ann Arbor Charter Twp., 519 F.3d 564, 574–75 (6th Cir. 2008); see also

 Klinger v. Dep’t of Corr., 31 F.3d 727, 731 (8th Cir. 1994) (“Absent a

 threshold showing that she is similarly situated to those who allegedly

 receive favorable treatment, the plaintiff does not have a viable equal

 protection claim.”).


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       Here, plaintiffs highlight several instances in which defendants

 failed to enforce either a law or a policy, but the allegations do not explain

 in anything but conclusory terms how defendants acted differently in

 other situations. For example, to the extent that defendants failed to

 observe the statutory forty-five day notice and comment period before

 issuing the FWTP an operating permit, it may be that they normally

 dispensed with this requirement. Likewise, although plaintiffs plead that

 defendants did not comply with state and federal lead and copper testing

 requirements, the complaint reveals nothing about the possibility that

 defendants failed to enforce these laws on a statewide basis. Accordingly,

 plaintiffs’ third and final theory also fails to state a claim.

       In some of their briefing, plaintiffs argue that rational basis review

 should not apply to their wealth-based equal protection claim because the

 claim should be construed as one involving discrimination implicating

 the fundamental right to bodily integrity. (Dkt. 379 at 88.) However,

 plaintiffs have not pleaded the claim this way in the fourth amended

 complaint. And in fact, plaintiffs do not raise this argument in their most

 recent briefing. The Court therefore continues to view the claim as one




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 involving discrimination on the basis of wealth. For these reasons, leave

 to amend the complaint to include this claim would be futile.

                              b. Race-Based Discrimination

       Plaintiffs also fail to state a claim that defendants violated their

 right to equal protection on the basis of race discrimination. When state

 action is premised on a racial classification, courts strictly scrutinize the

 challenged conduct. Cleburne, 473 U.S. at 440; Mass. Bd. of Ret., 427 U.S.

 at 312; see also United States v. Carolene Prod. Co., 304 U.S. 144, 152 n.4

 (1938) (noting that courts act with greater vigilance when equal

 protection claims affect the politically powerless). Conduct subject to

 strict scrutiny is presumptively invalid; only official action that is

 narrowly tailored to meet a compelling state interest will survive. Lac

 Vieux Desert Band of Lake Superior Chippewa Indians v. Mich. Gaming

 Control Bd., 276 F.3d 876, 879 (6th Cir. 2002).

        Yet “‘proof of . . . discriminatory intent or purpose is required’ to

 show a violation of the Equal Protection Clause” on the basis of race

 discrimination. City of Cuyahoga Falls v. Buckeye Cmty. Hope Found.,

 538 U.S. 188, 194 (2003) (quoting Arlington Heights, 429 U.S. at 265);

 Washington v. Davis, 426 U.S. 229, 239–41 (1976). If discriminatory


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 intent is missing, claims are analyzed under rational basis. See

 Radvansky, 395 F.3d at 312. And the facts must offer more than “intent

 as volition or intent as awareness of consequences.” Pers. Adm’r v.

 Feeney, 442 U.S. 256, 279 (1979). Rather, they must demonstrate that a

 decisionmaker “selected or reaffirmed a particular course of action at

 least in part ‘because of,’ not merely ‘in spite of,’ its adverse effects upon

 a particular racial group.” Id.; Bennett v. City of Eastpointe, 410 F.3d 810,

 818 (6th Cir. 2005) (quoting King v. City of Eastpointe, 86 F. App’x 790,

 802 (6th Cir. 2003)).

       At this stage in the case, plaintiffs need only raise an inference of

 discriminatory purpose. To do so, they must demonstrate that the

 application of a facially neutral law or policy had a discriminatory

 impact, and sufficient evidence exists to suggest an invidious motive.

 Arlington Heights, 429 U.S. at 265–66; Ne. Ohio Coal. for the Homeless v.

 Husted, 837 F.3d 612, 636–37 (6th Cir. 2016).10 The challenged conduct

 does not need to rest “solely on racially discriminatory purposes,” but this

 must have been a “motivating factor.” Arlington Heights, 429 U.S. at 265.


       10 Alternatively, plaintiffs can show that a law or policy explicitly classifies on
 the basis of race. Hunt v. Cromartie, 526 U.S. 541, 546 (1999). But plaintiffs agree
 that this case involves a facially neutral policy. (Dkt. 620-1 at 18, 19; Dkt. 663 at 37.)
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 And although discriminatory impact is an important starting point, it is

 rarely enough on its own. Id. Instead, courts must conduct “a sensitive

 inquiry into such circumstantial and direct evidence of intent as may be

 available.” Id. at 266. Discriminatory impact alone is only sufficient in

 the rarest case where “a clear pattern, unexplainable on grounds other

 than race, emerges from the effect of the state action[.]” Id. at 266

 (citations omitted).

       Several non-exhaustive factors guide this inquiry: (1) “[t]he

 historical background of the decision is one evidentiary source,

 particularly if it reveals a series of official actions taken for invidious

 purposes,” id. at 267; (2) “the specific sequence of events leading up to the

 challenged decision . . . may shed . . . light on the decisionmaker’s

 purposes,” id.; (3) “[d]epartures from the normal procedural sequence . .

 . particularly if the factors usually considered important by the

 decisionmaker strongly favor a decision contrary to the one reached,” id.;

 and (4) “[t]he legislative or administrative history . . . especially where




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 there are contemporary statements by members of the decisionmaking

 body, minutes of its meetings, or reports,” id. at 268.11

       As a starting point, plaintiffs plead discriminatory impact for all

 three theories. Under each theory, they allege that defendants’ conduct

 negatively impacted Flint. And Flint is majority African American.

 However, this is not the “rarest case” where the discriminatory impact is

 so stark as to immediately warrant an inference of discriminatory

 purpose. See Gomillion v. Lightfoot, 364 U.S. 339 (1960) (invalidating

 state action where redrawing of city boundaries disenfranchised all but

 four or five of the municipality’s 400 African American voters); Yick Wo

 v. Hopkins, 118 U.S. 356 (1886) (finding a violation of equal protection

 where an ordinance was exclusively applied against Chinese-owned

 laundries). After all, Flint is 40.4% white. (Dkt. 620-3 at 128.)

       Plaintiffs also point to the historical background for all three

 theories. They identify a long history of race discrimination and

 segregation and argue that this should factor into the Court’s analysis.




       11  The Sixth Circuit has repeatedly relied on the Arlington Heights factors
 when addressing equal protection claims involving facially neutral laws or policies.
 E.g., Ne. Ohio Coal. for the Homeless, 837 F.3d at 636–37 (6th Cir. 2016); Smith &
 Lee Assocs., Inc. v. City of Taylor, 102 F.3d 781, 790–91 (6th Cir. 1996).
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 (Dkt. 620-1 at 18.) But plaintiffs do not connect Flint’s history of systemic

 racism to defendants’ conduct. They imply that the legacy effects of

 historical racism should be imputed to defendants because they were

 state actors carrying out official business. But this alone is not enough to

 warrant an inference of discriminatory purpose. It will be considered

 with the other evidence.

       Plaintiffs’ first theory, the decision to switch Flint’s water supply to

 the Flint River while providing DWSD water to the remainder of Genesee

 County, lacks sufficient facts to warrant an inference of discriminatory

 purpose. Little about the sequence of events indicates that a racial bias

 was driving defendants. In the months leading up to the switch, cost

 studies suggested that DWSD water was the more economic mid-term

 option. But the KWA would only be viable if the Flint River was used as

 an interim water source. And defendants were concerned that DWSD

 water would become increasingly expensive.

       Likewise, defendants’ contemporary statements do not change the

 outcome. Defendant Wright expressed the view that DWSD is a corrupt




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 entity.12 But this does not indicate racial animus and the fourth amended

 complaint offers nothing further. Therefore, when all the facts are taken

 into consideration, the allegations fail to show that race motivated

 defendants’ decision. At most they show that defendants acted in spite of

 the risk of harm that plaintiffs faced, not that they were driven by it.

 Plaintiffs’ first theory thus fails to state a claim.

       With their second theory that the Governor treated the emergency

 situation in Flint differently, plaintiffs also fail to allege sufficient facts

 to warrant an inference of discriminatory purpose. Governor Snyder

 allegedly knew that Flint’s water supply was contaminated months

 before publicly acknowledging it, but he did not alert the public until

 October 2015, when it was impossible to deny. The Governor also took

 many months more to declare a state of emergency. And presumably the

 conditions that gave rise to the eventual emergency declaration existed

 the whole time. Similarly, a departure from past practice works in




       12 In fact, DWSD was at the center of highly publicized public corruption
 charges. In March of 2013, former Mayor of Detroit, Kwame Kilpatrick was found
 guilty of twenty-four of thirty counts brought against him, including conspiracy
 charges related to the DWSD. United States v. Kilpatrick, et al,No. 10-cr-20403).
 Former DWSD Director Victor Mercado had previously pled guilty in November of
 2012.
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 plaintiffs’ favor. Governor Snyder’s conduct in Flint differed from that in

 some majority white communities, where he promptly issued states of

 emergency.

       Nonetheless, these facts taken as a whole do not support an

 inference of discriminatory intent. The comparative states of emergency

 identified in the fourth amended complaint involved drastically different

 situations, such as several wildfires and floods, meaning plaintiffs’

 comparison is less apples-to-apples than it initially appears. And in the

 one instance where plaintiffs cite to an emergency involving water

 contamination, they identify an incident that occurred several years after

 the facts pertinent to this present case. Accordingly, it is hard to know

 whether the Governor’s prompt response was a reaction to the criticism

 about his handling of Flint, rather than evidence of a desire to harm

 African Americans. Moreover, plaintiffs do not point to a clear pattern of

 discrimination where Governor Snyder consistently delayed declaring

 states of emergency in mostly African American areas. In fact, a close

 inspection of the analogous emergencies suggests the opposite was

 almost true. During a flood in Wayne County, which is 45.4% non-white,




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 the Governor declared an emergency within two days. (Dkt. 620-3 at

 152.)13 The departure from practice is less salient.

       Plaintiffs point to no other facts sufficient to support a finding of

 discriminatory purpose. During the crisis, a senior member of the

 Governor’s administration dismissed complaints from Flint activists as

 the product of “old time negative racial experiences.” (Id. at 161.) But

 even if the same thoughts are attributed to Governor Snyder, it only

 shows that he acted in spite of the fact that Flint was majority African

 American, not because of this fact. When the allegations are collectively

 considered, they do not warrant an inference of invidious intent. And as

 such, plaintiffs’ second theory fails to state a claim.

       Finally, plaintiffs’ third theory that the MDEQ defendants failed to

 enforce certain laws and policies also fails to allege sufficient facts to

 warrant an inference of discriminatory purpose. As discussed above,

 plaintiffs generally point to Flint’s history of racial discrimination, and

 this alone is insufficient to show invidious intent. However, here,


       13  Plaintiffs detail the Governor’s response to emergencies in majority white
 communities. (Dkt. 620-3 at 152–53.) However, this only tells half the story. Without
 knowing how the Governor reacted to emergencies in majority African American
 communities, it is difficult to assess his motive in Flint. The flood in Wayne County
 is the closest non majority white jurisdiction that plaintiffs provide.
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 plaintiffs also note that the EPA had concluded earlier that the MDEQ

 had discriminated against Flint’s African Americans when issuing an

 operating permit for a local power station. In particular, the EPA found

 that the MDEQ did not have a sufficient non-discrimination policy in

 place. And this lack of policy persisted during the Flint Water Crisis. As

 recently as 2017, the EPA was still raising concerns that the MDEQ did

 not take its non-discrimination obligations seriously.

       However, the MDEQ’s failure to develop a sufficient non-

 discrimination policy does not demonstrate discriminatory intent.

 Plaintiffs do not allege that Shekter-Smith, Prysby, and Busch were

 responsible for the MDEQ’s internal policies. Nor is there any sign that

 they obstructed or otherwise hindered the development of other

 procedural safeguards. Defendant Wyant, as MDEQ director, was

 presumably ultimately responsible for the non-discrimination policy, but

 plaintiffs do not plead facts that suggest his failure to develop such a

 policy was motivated by a nefarious purpose.

       Neither the specific sequence of events nor any departure from

 standard procedures suggest a race-based motive. Defendants Shekter-

 Smith and Busch were allegedly involved in helping Flint secure a


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 fraudulent ACO. Yet there is no suggestion that a desire to harm African

 Americans motivated their conduct. The same is true of the decision to

 grant the FWTP an operating permit without sufficient public

 participation, and the MDEQ’s failure to enforce lead and copper testing

 requirements. The allegations do not provide any way to link these

 decisions to a discriminatory intent. Plaintiffs allege that these types of

 nonconformities with law and policy never occurred in majority white

 communities, but these are conclusory accusations. These defendants

 also made no contemporary statements indicating that race motivated

 their actions. And there is nothing else to connect their conduct to a

 discriminatory purpose. As such, when the facts are considered together,

 plaintiffs’ third theory fails to state a claim.

                                        *

       Plaintiffs’ equal protection allegations fail to state a claim upon

 which relief can be granted. The wealth-based claim fails on grounds that

 rational justifications conceivably exist that explain the challenged

 conduct. And the race-based claim fails because plaintiffs plead

 insufficient facts to infer that a discriminatory purpose motivated

 defendants’ decisions. That is not to say that race and poverty did not


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 play a role in the Flint Water Crisis. As plaintiffs explain, multiple

 sources indicate that historical patterns of discrimination created the

 conditions for what happened. But under current caselaw, the Equal

 Protection Clause does not provide redress for the harms as alleged.

 Granting plaintiffs’ leave to amend the complaint to include them would

 be futile.

                        3. Elliott Larsen Civil Rights Act

       Plaintiffs next seek to revise their claim under Article 3 of

 Michigan’s Elliott Larsen Civil Rights Act (ELCRA), which addresses

 discrimination in public services and accommodations. Mich. Comp.

 Laws §§ 37.2301–37.2304 (2017). Plaintiffs’ ELCRA allegations mirror

 their equal protection claims. Only the African American plaintiffs bring

 the claim on behalf of an African American class. (Dkt. 620-3 at 190.) And

 plaintiffs advance similar theories of liability: that (1) defendants

 Snyder, Dillon, Wright, Ambrose, Kurtz, Earley, and the City of Flint

 provided Flint’s predominantly African American residents with inferior

 water when compared to the mostly white residents of Genesee County

 (id. at 192–93); (2) Governor Snyder failed to promptly declare a state of

 emergency in Flint compared to other emergencies in predominantly

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 white communities, (id. at 193–94); and (3) the MDEQ defendants

 Wyant, Shekter-Smith, Prysby, and Busch failed to enforce certain laws

 and regulations. (Id. at 194–95.) For the following reasons, plaintiffs’

 ELCRA claim could not withstand a motion to dismiss if leave to amend

 were granted, and so granting leave would be futile.

                                       *

       The ELCRA “is aimed at ‘the prejudices and biases’ borne against

 persons because of their membership in a certain class, and seeks to

 eliminate the effects of offensive or demeaning stereotypes, prejudices,

 and biases.” Radtke v. Everett, 442 Mich. 368, 379 (1993) (quoting Miller

 v. C.A. Muer Corp., 420 Mich. 355, 363 (1984)). To state a claim under

 Article 3, plaintiffs must allege: “(1) discrimination based on a protected

 characteristic (2) by a person, (3) resulting in denial of the full and equal

 enjoyment of [a public service].” See Haynes v. Neshewat, 477 Mich. 29,

 35 (2007); Clarke v. K Mart Corp., 197 Mich. App. 541, 545 (1992). The

 ELCRA defines public service as “a public facility . . . owned, operated, or

 managed by or on behalf of . . . a political subdivision . . . established to

 provide service to the public.” § 37.2301. For the purposes of this analysis,




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 the Court assumes that Flint’s municipal water supply is a public service

 under the ELCRA.

       The public service provision of the ELCRA uses the same

 framework to establish discrimination as that used generally under other

 provisions of the ELCRA. See Schellenberg v. Rochester Mich. Lodge No.

 2225 of the Benev. & Prot. Order of Elks, 228 Mich. App. 20, 32 (1998);

 Clarke, 197 Mich. App. at 545. Plaintiffs must show either intentional

 discrimination directly or raise an inference of discrimination based on a

 disparate treatment theory. Hazle v. Ford Motor Co., 464 Mich. 456, 462–

 63 (2001); Clarke, 197 Mich. App. at 545. In a case like this involving

 allegations of race-based discrimination, plaintiffs can plead intentional

 discrimination by pointing to direct evidence that defendants were pre-

 disposed to discriminate against African Americans, and that they acted

 on that pre-disposition. See Reisman v. Regents of Wayne State Univ., 188

 Mich. App. 526, 538 (1991). Direct evidence is “evidence which, if

 believed, requires the conclusion that unlawful discrimination was at

 least a motivating factor in [defendants’] actions.” Hazle, 464 Mich. at

 462 (quoting Jacklyn v. Schering-Plough Healthcare Prods. Sales Corp.,

 176 F.3d 921, 926 (6th Cir. 1999)). Alternatively, plaintiffs can raise an


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 inference of discrimination by pleading that defendants treated them

 differently from non-protected individuals under the same or similar

 circumstances. See Reisman, 188 Mich. App. at 538 (citing Singal v. Gen.

 Motors Corp., 179 Mich. App. 497, 502–03 (1989)); Schellenberg, 228

 Mich. App. at 33. But here, they must also point to sufficient indirect

 evidence from which it can be inferred that race was a motivating factor,

 even if not “the sole factor.” See Reisman, 188 Mich. App. at 539; see also

 Mich. M Civ JI 108.04 (2018) (identifying intentional discrimination as

 an element in an Article 3 ECLRA claim).

       It is unclear whether plaintiffs are relying on direct evidence or

 evidence of disparate treatment to prove this claim. Plaintiffs do not offer

 direct evidence to show defendants were predisposed to discriminate on

 the basis of race, nor that they acted on that predisposition. However,

 they have pleaded facts consistent with a disparate treatment theory and

 so the Court proceeds on this basis.

       Under a disparate treatment approach, plaintiffs fail to plead

 sufficient facts to raise an inference of racial discrimination. This is for

 the same reasons as set forth above with respect to plaintiffs’ equal

 protection claims. See supra Section II.d.ii.2.b. Plaintiffs have not


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 explained why their ELCRA claim should be evaluated under a different

 standard. Therefore, plaintiffs’ ELCRA claim could not survive a motion

 to dismiss, and so granting leave to amend the complaint to include it

 would be futile.

                          4. Conspiracy

       Plaintiffs next seek leave to amend their conspiracy claim under §

 1985(3). (Dkt. 620-3 at 186–90.) This claim is also only brought by the

 African American plaintiffs on behalf of an African American class. (Id.

 at 186.) Plaintiffs argue that defendants Snyder, Dillon, Wright,

 Ambrose, Kurtz, and Earley conspired to expose them to contaminated

 water from the Flint River (id. at 186–87),14 and the means by which they

 did this is familiar: defendants developed an interim plan to provide safe

 water to the predominately white population of Genesee County while

 supplying unsafe water to Flint residents. (Id. at 187–88.) In plaintiffs’

 view, there was no rational reason to treat these two groups differently.

 (Id. at 188.) Defendants’ conduct was based on invidious discrimination,




       14  As with the proposed equal protection and ELCRA claims, plaintiffs
 inconsistently name defendants in the Count. The conspiracy Count lists the
 defendants mentioned here, but subsequent briefing includes additional individuals.


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 akin to imposing a badge, vestige, or symbol of slavery, as prohibited by

 the Thirteenth Amendment. (Id. at 188–89.)15

       In the context of § 1985(3), plaintiffs shoulder a heavy pleading

 burden. “Conspiracy claims must be pled with some degree of

 specificity[.]” Gutierrez v. Lynch, 826 F.2d 1534, 1538–39 (6th Cir. 1987).

 “[V]ague and conclusory allegations unsupported by material facts will

 not be sufficient to state such a claim[.]” Id. To state a claim under §

 1985(3), plaintiffs must plead facts consistent with (1) a conspiracy

 between two or more persons, (2) conceived for the purpose of depriving

 a person or class of people of the equal protection of the laws, (3) an act

 committed in furtherance of the conspiracy, and (4) that a person was

 either injured in his or her person or property, or deprived of a right

 guaranteed by the Constitution. Peters v. Fair, 427 F.3d 1035, 1038 (6th

 Cir. 2005) (citing Johnson v. Hills & Dales Gen. Hosp., 40 F.3d 837, 839



       15 There are two ways to construe plaintiffs’ § 1985(3) argument. First, it could
 be understood as stating a claim based on the theory that defendants’ actions
 burdened plaintiffs’ rights under the Thirteenth Amendment, denying them equal
 protection of the laws. Or it could be read as articulating a violation of the Equal
 Protection Clause on the basis of racial discrimination, where defendants acted with
 racial animus similar to a badge of slavery. Because in plaintiffs’ briefing they argue
 in support of the latter interpretation, the Court will analyze the claim under that
 theory.


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 (6th Cir. 1994)).16 In so doing, plaintiffs must demonstrate that the

 conspiracy was motivated by racial or other constitutionally suspect

 class-based animus. Bartell v. Lohiser, 215 F.3d 550, 559–60 (6th Cir.

 2000) (citing United Bhd. of Carpenters & Joiners of Am. v. Scott, 463

 U.S. 825, 829 (1983)).

       Pleading invidious class-based animus is important. Section

 1985(3) is not a “general federal tort law,” providing a federal cause of

 action for every assault and battery. Bray v. Alexandria Women’s Health

 Clinic, 506 U.S. 263, 299 (1993) (citing Griffin v. Breckenridge, 403 U.S.

 88, 102 (1971)). The intent requirement ensures that only those

 conspiracies that “aim at a deprivation of the equal enjoyment of rights

 secured by the law to all” are actionable under the statute. Griffin, 403

 U.S. at 102.

       Plaintiffs fail to plausibly allege that defendants were motivated by

 racial or any other invidious class-based animus. Plaintiffs possibly show


       16 In pertinent part, § 1985(3) states: “If two or more persons . . . conspire . . .
 for the purpose of depriving, either directly or indirectly, any person or class of
 persons of the equal protection of the laws . . . [and] do, or cause to be done, any act
 in furtherance of the object of such conspiracy, whereby another is injured in his
 person or property . . . the party so injured or deprived may have an action for the
 recovery of damages occasioned by such injury or deprivation, against any one or
 more of the conspirators.”
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 that the impact of historical race discrimination played a role in the Flint

 Water Crisis, but not that it was a motivating factor. For example,

 plaintiffs repeatedly assert that the interim plan provided safe water to

 predominantly white Genesee County residents and unsafe water to the

 mostly African American Flint residents. But this only demonstrates a

 disparate impact resulting from defendants’ decisions. It does not show

 that they were motivated by the kind of discriminatory animus necessary

 to state a § 1985(3) claim. Similarly, plaintiffs contend that early

 complaints from Flint residents would have been taken into account

 faster had they been affluent and predominantly white. This allegation

 suffers from the same flaw.

       Many of the facts contained in the fourth amended complaint set

 forth the historic impact of racism in Flint, but not specific instances of

 racially motivated conduct by the defendants. This history is important

 to understanding patterns of segregation, poverty, and other conditions

 that may have left plaintiffs vulnerable to the Flint Water Crisis. Yet

 such theories do not show invidious class-based animus by the named

 defendants.




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       Plaintiffs raise many serious and challenging issues, but they fail

 to plausibly allege that race discrimination animated defendants’

 conduct. This is especially so considering the heightened pleading

 standard. Therefore, their revised § 1985(3) claim could not withstand a

 motion to dismiss. As such, granting leave to amend the complaint to

 include it would be futile.

                        5. Gross Negligence

       Finally, plaintiffs seek leave to add a gross negligence claim against

 defendants Snyder, Dillon, Lyon, Shekter-Smith, Rosenthal, Busch,

 Cook, Prysby, Wurfel, Wright, Kurtz, Earley, Ambrose, Croft, Johnson,

 and Glasgow. (Dkt. 620-3 at 217.) Plaintiffs allege that these government

 defendants owed them a duty not to conduct their official responsibilities

 recklessly (id.), but that they did so by playing a role in Flint’s transition

 to the Flint River and downplaying the resulting harm. (Id. at 217–18.)

 Plaintiffs argue that defendants’ conduct was grossly negligent and

 caused their injuries, and that defendants are not entitled to immunity

 under Michigan’s Government Tort Liability Act (GTLA), Mich. Comp.

 Laws. § 691.1401–1419 (2014). (Dkt. 620-3 at 218.) However, this claim




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 also could not withstand a motion to dismiss and amending the complaint

 to include it would be futile.

                                       *

       Defendants are immune from tort liability. The GTLA premises

 immunity on various theories. Pertinently, “the elective or highest

 appointive executive official of all levels of government are immune from

 tort liability for injuries to persons or damages to property if he or she is

 acting within the scope of his or her . . . executive authority.” §

 691.1407(5). Under this theory, defendants Snyder, Dillon, and Lyon are

 absolutely immune. See Guertin, 2017 U.S. Dist. LEXIS 85544, at *77–

 78. The same is true of defendants Kurtz, Earley, Ambrose, and Croft,

 and defendants Shekter-Smith and Wurfel. See id.

       This leaves the remaining defendants, lower-level government

 employees. Lower-level employees are “immune from tort liability for an

 injury to a person or damage to property caused by the . . . employee . . .

 while in the course of employment” if the employee is “acting or

 reasonably believes he or she is acting within the scope of his or her

 authority,” unless the employees’ conduct amounts to “gross negligence

 that is the proximate cause of the injury or damage.” § 691.1407(2)(a)–


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 (c). To identify whether a lower-level employee was the proximate cause

 of an injury, courts must first evaluate “the conduct and any legal

 responsibility” of the various parties to an accident, Ray v. Swager, 501

 Mich. 52, 74 (2017), where legal responsibility is assessed by determining

 whether the accident was a foreseeable consequence of an individual’s

 actions, see id. at 69. And second, courts must jointly consider the actions

 of those legally responsible to determine whose conduct was the “one

 most immediate, efficient, and direct cause” of any injury. Id. at 83

 (quoting Robinson v. City of Detroit, 462 Mich. 439, 462 (2000)). If the

 answer is anyone but the employee, the employee can claim immunity.

       Plaintiffs do not address Ray’s causation requirement. The fourth

 amended complaint states that defendants’ conduct was a direct and

 proximate cause of plaintiffs’ injuries, but fails to explain, first, why they

 were legally responsible for this harm in anything but conclusory terms,

 and second, why such conduct was the “one most immediate, efficient,

 and direct cause” preceding plaintiffs’ injuries. Instead, plaintiffs argue

 that they need only demonstrate that “it was foreseeable that the

 defendant’s conduct could result in harm to the victim.” (Dkt. 620-1 at 22

 (quoting Ray, 501 Mich. at 65).) But this is a misinterpretation of Ray, a


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 case this Court is bound to follow. And because plaintiffs ask the Court

 to do something it cannot, amending the fourth amended complaint to

 include this claim would be futile.

       Plaintiffs raise several counter arguments, but none are persuasive.

 First, plaintiffs argue that defendants were not acting within the scope

 of their authority, and, as such, they cannot claim immunity. (Dkt. 663

 at 50–52.) For instance, plaintiffs contend that Governor Snyder did not

 have the power to discriminate against African American communities

 in his handling of emergencies. (Id. at 51.) Similarly, plaintiffs argue that

 Lyon and Wurfel did not have the authority to downplay the risks of harm

 posed by the contaminated water. (Id. at 52.) But these arguments are

 circular. Under plaintiffs’ view, tortious conduct is sufficient to deprive a

 government defendant of immunity because tortious conduct is not

 within the defendant’s scope of authority. This is not how the GTLA

 functions.

       Second, plaintiffs claim that even if their interpretation of caselaw

 is wrong, they have adequately pleaded that defendants were the “most

 immediate, efficient, and direct cause” of plaintiffs’ injuries, because each

 defendants’ conduct served as “the proximate cause” for some discrete


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 harm that, taken in the aggregate, forms a piece of the Flint Water Crisis.

 (Id. at 54–55.) For example, defendant Busch falsely informed an EPA

 official that Flint was using corrosion control, which proximately caused

 the State to slowly address the dangers of lead in the water. (Id. at 55.)

 However, the focus is on the injury claimed. See Robinson, 462 Mich. at

 462. In other words, it is not enough that plaintiffs are able to point to

 some cause and effect relationship within the Flint Water Crisis. They

 must demonstrate how a defendant’s action was the “one most

 immediate, efficient, and direct cause” of their injuries. For this reason,

 this argument also fails.

       The sheer size and scale of the Flint Water Crisis makes it difficult

 for plaintiffs—or anyone—to identify any defendant most legally

 responsible for the resulting injuries. As such, “the more governmental

 actors that are involved in causing a massive tort in Michigan, the less

 likely it is that state tort claims can proceed against the individual

 government actors[.]” Guertin, 2017 U.S. Dist. LEXIS 85544, at *81.

 Ultimately, the Court is required to apply the GTLA as interpreted by

 the Michigan Supreme Court. It would therefore be futile to amend the

 complaint to include plaintiffs’ gross negligence claim.


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                        6. Res Judicata and Statute of Limitations

       Defendants Wyant and Wurfel argue that the doctrine of res

 judicata or, alternatively, the relevant statutes of limitations prohibit

 plaintiffs from amending the complaint. (Dkt. 653 at 29–34; Dkt. 657 at

 26–28.) Because the Court found plaintiffs’ amended claims with respect

 to defendants Wyant and Wurfel futile, these issues need not be

 addressed.

               e. Conclusion

       Plaintiffs’ motion for leave to amend the complaint regarding the

 bodily integrity claim against Governor Snyder is granted, and plaintiffs’

 motion regarding the remaining claims is denied. Furthermore, the

 Court finds no reason to deny leave to amend to include the fourth

 amended complaint’s new factual allegations, including the proposed

 class definitions, the certification of which will be addressed at a later

 date. Plaintiffs’ motion as it relates to these facts is therefore also

 granted. These conclusions will again be summarized at the end of Part

 III, infra.




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   III.      Motions to Dismiss

          As previously stated in Part I, supra, the Court adopts the fourth

 amended complaint as the operative complaint for the purpose of

 adjudicating defendants’ motions to dismiss. If the Court denied leave to

 amend the complaint to include a particular claim in Part II, that claim

 will be dismissed with no further discussion.

               a. Background

          The facts, parties, and proposed classes remain unchanged from

 those set forth above in Part II. The fourth amended complaint contains

 the following counts:

    Count               Claim                      Defendants
      I         § 1983 Bodily Integrity    All government defendants
                                         Snyder, Dillon, Wright, Ambrose,
                     § 1983 - Equal
    II-III                                Kurtz, Earley, Wyant, Shekter-
                       Protection
                                            Smith, Prysby, and Busch
                                         Snyder, Dillon, Wright, Ambrose,
      IV         § 1985(3) - Conspiracy
                                                Kurtz, and Earley
                                         Snyder, Dillon, Wright, Ambrose,
                                         Kurtz, Earley, The City of Flint,
      V                 ELCRA
                                          Wyant, Shekter-Smith, Prysby,
                                                    and Busch
      VI            Monell Liability             The City of Flint
   VII-VIII     Professional Negligence          LAN and Veolia
                § 1983 – State-Created
      IX                                   All government defendants
                         Danger
      X                  Fraud                        Veolia
                 Negligent Infliction of
      XI                                         LAN and Veolia
                   Emotional Distress
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     XII             Negligence                    LAN and Veolia
                                             LAN, Veolia, Snyder, Dillon,
                                           Lyon, Shekter-Smith, Rosenthal,
  XIII-XIV       Gross Negligence           Busch, Cook, Prysby, Wurfel,
                                           Wright, Kurtz, Earley, Ambrose,
                                            Croft, Johnson, and Glasgow.

             b. Standard of Review

       A motion to dismiss pursuant to Federal Rule of Civil Procedure

 12(b)(1) challenges the Court’s subject matter jurisdiction. When ruling

 on a Rule 12(b)(1) motion “the court must take the material allegations

 of the [complaint] as true and construed in the light most favorable to the

 nonmoving party.” United States v. Ritchie, 15 F.3d 592, 598 (6th Cir.

 1994). Plaintiffs need only show “that the complaint alleges a claim under

 federal law, and that the claim is substantial.” Musson Theatrical, Inc. v.

 Fed. Express Corp., 89 F.3d 1244, 1248 (6th Cir. 1996) (citing Transcon.

 Leasing, Inc. v. Mich. Nat’l Bank, 738 F.2d 163, 166 (6th Cir.1984)). This

 is a relatively light burden. Id. “Dismissal for lack of subject-matter

 jurisdiction . . . is proper only when the claim is ‘so insubstantial,

 implausible, foreclosed by prior decisions of [the Supreme Court], or

 otherwise completely devoid of merit as not to involve a federal

 controversy.’” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 89



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 (1998) (quoting Oneida Indian Nation of N.Y. v. Cty. of Oneida, 414 U.S.

 661, 666 (1974)).

       A motion that challenges the legal sufficiency of a complaint is

 instead properly brought under Federal Rule of Civil Procedure 12(b)(6).

 See supra Section II.b (setting forth the motion to dismiss standard).

             c. Threshold Issues

                     i. Sovereign Immunity

       The state and city defendants argue that sovereign immunity

 deprives the Court of subject matter jurisdiction to adjudicate certain

 claims. They therefore move to dismiss under Rule 12(b)(1). The Court

 grants the state defendants’ motion in part as it relates to the State of

 Michigan, but denies the motions in all other respects.

       First, the state defendants argue that sovereign immunity bars

 plaintiffs’ claims against the State of Michigan and their claim for

 injunctive relief against the Governor in his official capacity. (Dkt. 279 at

 29–32; Dkt. 739 at 16–18.) The state defendants are correct that

 sovereign immunity bars claims against the State of Michigan. Boler v.

 Earley, 865 F.3d 391, 413 (6th Cir. 2017). But for the following reasons,




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 the Court has subject matter jurisdiction over claims against Governor

 Snyder in his official capacity.

       In Boler, the Sixth Circuit explained that there are three exceptions

 to sovereign immunity, the relevant one here being “when the doctrine

 set forth in Ex Parte Young applies.”17 865 F.3d at 410 (citations omitted).

 “Ex Parte Young allows plaintiffs to bring claims for prospective

 [injunctive] relief against state officials sued in their official capacity to

 prevent future federal constitutional or statutory violations.” Id. at 412.

 In this case, plaintiffs only seek injunctive relief against Governor Snyder

 in his official capacity.

       Boler is a Sixth Circuit decision that forms part of the Flint Water

 Cases litigation. It held that the Ex Parte Young exception applied to the

 injunctive relief sought by the plaintiffs against Governor Snyder in his

 official capacity. There, the plaintiffs sought an “injunctive order to

 remediate the harm caused by Defendants’ unconstitutional conduct

 including, but not limited to: repairs of private property and




       17 Another exception is “when the state has waived immunity by consenting to
 the suit.” Boler, 865 F.3d at 410. However, this exception is not at issue here.
 Although the State of Michigan has participated in the proceedings to some extent, it
 has carefully and consistently appeared reluctantly, and without waiving immunity.
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 establishment of medical monitoring to provide healthcare and other

 appropriate services to Class members for a period of time deemed

 appropriate by the Court.” Id. at 413. (quotations omitted). They also

 requested a “monitor who will assist in the development of remedial

 plans including, but not limited to: early education, education

 intervention programs, [and] criminal and juvenile justice evaluations.”

 Id. (quotations omitted).

       Here, plaintiffs similarly seek an order “to remediate the harm

 caused by the Government Defendants’ unconstitutional conduct.” (Dkt.

 620-3 at 219.) And this includes the exact same relief as that set forth in

 Boler. Boler therefore controls and requires the same outcome. The claim

 for injunctive relief against Governor Snyder in his official capacity may

 go forward.

       Second, the city defendants argue that sovereign immunity

 deprives the Court of jurisdiction to adjudicate plaintiffs’ claims against

 the City of Flint because it was an arm of the State in the period leading

 up to and including the Flint Water Crisis. (Dkt. 276 at 43–55.) According

 to the city defendants, Flint is therefore entitled to the same cloak of

 sovereign immunity as that afforded the State. (Id.) However, the Sixth


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 Circuit recently rejected this argument in Guertin v. Michigan, 912 F.3d

 907, 941 (6th Cir. 2019). This argument is therefore denied.

       In sum, although immunity with regards to the State of Michigan

 is granted, it is denied as to Governor Snyder in his official capacity and

 the City of Flint. The Court has subject matter jurisdiction to adjudicate

 claims against these latter defendants.

                  ii. Absolute Immunity

       Defendants Wyant and Wurfel claim absolute immunity from

 plaintiffs’ lawsuit. They rely on the immunity awarded to federal officials

 carrying out discretionary prosecutorial actions, arguing that they were

 functionally acting as federal officials despite working for a state agency.

 (Dkt. 281 at 38–40; Dkt. 282 at 33–34.) However, the Sixth Circuit

 rejected this argument in Mays v. City of Flint, 871 F.3d 437, 444–47 (6th

 Cir. 2017), cert. denied, 138 S. Ct. 1557 (2018). Moreover, defendants do

 not explain how their claim of immunity interacts with plaintiffs’

 allegations against them, instead speculating that absolute immunity

 would apply if “[p]laintiffs’ claims . . . ultimately prove to be an alleged

 failure . . . to sufficiently enforce the [Safe Drinking Water Act] and/or




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 initiate enforcement proceedings against Flint.” (Dkt. 281 at 39; Dkt. 282

 at 34.) For both reasons, defendants’ claims are denied.

                 iii. Preemption

       Several defendants argue that plaintiffs’ § 1983 claims are

 preempted by the Safe Drinking Water Act, 42 U.S.C. § 300f–300j (2016).

 But this Court and the Sixth Circuit has rejected this argument. Boler,

 865 F.3d at 409.

              d. Main Analysis

                    i. Federal Claims

                         1. Bodily Integrity

       In Count I, plaintiffs allege that the government defendants

 violated their substantive due process right to bodily integrity under the

 Fourteenth Amendment. (Dkt. 620-3 at 172.) According to plaintiffs, they

 did this by acting with deliberate indifference to the risk of harm

 plaintiffs   faced,   creating   and    perpetuating   their   exposure     to

 contaminated water. (Id. at 172–73.) Defendants move to dismiss. (Dkt.

 294 at 3–10; Dkt. 282 at 17–23; Dkt. 281 at 17–28; Dkt. 279 at 37–43;

 Dkt. 277 at 18–22; Dkt. 276 at 20–23; Dkt. 273 at 32–42.)




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       As set forth earlier in this opinion, plaintiffs unknowingly drank

 and bathed in contaminated water, encroaching upon their right to bodily

 integrity. See supra Section II.d.ii.1. Therefore, to state a bodily integrity

 claim, plaintiffs must demonstrate that (1) the government defendants

 knew of facts from which they could infer a substantial risk of serious

 harm, (2) they did infer it, and (3) they nonetheless acted with

 indifference, demonstrating a callous disregard towards the rights of

 those affected. See supra Section II.d.ii.1.a.

       The Court will address the allegations against each group of

 government defendants in turn. Because the right to bodily integrity is

 clearly established, defendants cannot rely on qualified immunity if

 plaintiffs state a valid claim against them. See supra Section II.d.ii.1.b.

                              a. Property Owners

       In its August 1, 2018 opinion and order, the Court stated that:

             Numerous plaintiffs in this matter are not individuals,
       but instead businesses. Bodily integrity claims are premised
       on “the right of every individual to the possession and control
       of his own person, free from all restraint or interference of
       others, unless by clear and unquestionable authority of law.”
       The Court can find no case that extends the fundamental
       right of bodily integrity to a business or business relationship,
       or to the property owned or used in a business’s operations.



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 329 F. Supp. 3d at 395 (citations omitted). For the same reason, plaintiffs

 Frances Gilcreast, Epco Sales, LLC, and Angelo’s Coney Island Palace,

 Inc. fail to state a bodily integrity claim.

                               b. State Defendants

       The remaining plaintiffs allege that defendants Governor Snyder,

 Andrew Dillon, Nick Lyon, and Nancy Peeler violated their right to bodily

 integrity. For the following reasons, plaintiffs state a claim against

 defendants Governor Snyder and Dillon, but not against Lyon or Peeler.

                                       *

       Plaintiffs state a bodily integrity claim against Dillon. He allegedly

 knew that the Flint River had been rejected as a water source as recently

 as 2011, and that the FWTP would require substantial improvements to

 safely process the river’s water. From this, it is reasonable to believe that

 Dillon was aware of the risks associated with using the Flint River as a

 water source. Yet despite this knowledge, Dillon helped to develop an

 interim plan that saw Flint transition to the Flint River. And

 importantly, he rejected a final bid from DWSD that could have obviated

 the need to use water from the Flint River until the FWTP had the

 capacity to treat it safely. This demonstrated an indifference to the risk


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 of serious harm plaintiffs faced, made all the more inexplicable given that

 he knew DWSD presented the most cost effective mid-term option.18

       Conversely, plaintiffs do not state a bodily integrity claim against

 Lyon. It is reasonable to conclude that Lyon was aware of the risk of harm

 plaintiffs faced. As the crisis unfolded, he received materials showing an

 outbreak of Legionnaires’ disease in Flint. He also received emails from

 senior government officials raising concerns about possible lead

 contamination in Flint’s water. Moreover, he was surely aware that these

 incidents coincided with the transition to the Flint River. However,

 plaintiffs fail to show how Lyon was deliberately indifferent. It is true

 that he did not make the information he received public, nor did he alert

 other government departments. But he directed his team to investigate

 the reports and emails, which shows his concern. And plaintiffs do not

 plead that Lyon attempted to cover up what was happening. Therefore,




       18 In his motion to reconsider the now vacated August 1, 2018 opinion and
 order, Dillon argued that he resigned his position as State Treasurer in 2013, before
 Flint transitioned to the Flint River in early 2014. In his view, he therefore lacked
 authority over the Flint water system and could not have caused the harm that
 resulted. (Dkt. 561 at 16–17.) If true, the Court concedes that plaintiffs’ claim against
 Dillon may ultimately fail. However, plaintiffs dispute whether he truly left the
 State’s employment. (Dkt. 601 at 9–12.) Discovery will resolve this disagreement. For
 now, the Court must read the allegations in a light favorable to plaintiffs.
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 without more, the claim against Lyon does not rise to the level of

 deliberate indifference.19

       Finally, plaintiffs’ claim against Governor Snyder is successful for

 the reasons set forth in Section II.d.ii.1. On the other hand, plaintiffs’

 claim against Peeler fails because the complaint contains no factual

 allegations against her.

                                   c. MDEQ Defendants

       Plaintiffs next allege that defendants Bradley Wurfel, Daniel

 Wyant, Liane Shekter-Smith, Adam Rosenthal, Stephen Busch, Patrick

 Cook, and Michael Prysby violated their right to bodily integrity. For the

 following reasons, plaintiffs state a bodily integrity claim against Wurfel,

 Shekter-Smith, Rosenthal, Busch, Cook, and Prysby. They do not state a

 claim against Wyant.




       19 In its vacated August 1, 2018 opinion and order, the Court denied defendant
 Lyon’s motion to dismiss this count. 329 F. Supp. 3d at 403–04. In supplemental
 briefing, the state defendants argue that the Sixth Circuit’s decision in Guertin
 precludes the same result here. (Dkt. 739 at 15–16.) The Court agrees, as now
 reflected in this decision. Plaintiffs argue that the factual allegations against Lyon in
 this case are more substantial than in Guertin, but they are not so substantial as to
 warrant a different outcome.
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                                          *

       Plaintiffs state a bodily integrity claim against Wurfel. He knew of

 ample facts from which to infer that plaintiffs were facing a substantial

 risk of harm, and it is reasonable to conclude that he did infer it. For

 example, Wurfel knew about the outbreak of Legionnaires’ disease. And

 he was also well aware that something was wrong with Flint’s water.

 Moreover, plaintiffs demonstrate that Wurfel acted with deliberate

 indifference. On several occasions as the crisis unfolded, he publicly

 denied that there was a problem with Flint’s water. He appeared on radio

 and television to advise listeners that the water was safe to consume and

 bathe in, and he discredited others who suggested that lead was leaching

 into Flint’s water. Such indifference showed a callous disregard for

 plaintiffs’ right to bodily integrity.

       Plaintiffs also state a claim against Shekter-Smith, Rosenthal,

 Busch, Cook, and Prysby. It is reasonable to assume that they were

 aware of the substantial risk of harm plaintiffs faced. Before Flint’s

 transition to the Flint River, Shekter-Smith and Busch knew of the risks

 associated with the Flint River. In addition, Busch, Rosenthal, and

 Prysby recognized that the FWTP was not ready to begin operations.


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 After the transition, Rosenthal learned that the FWTP was not practicing

 corrosion control, and he and Shekter-Smith both knew that no

 legitimate lead and copper testing was occurring. Moreover, Busch,

 Shekter-Smith, and Prysby also knew that the transition had created the

 conditions for legionella bacteria to flourish. Not to mention the fact that

 the EPA and civic leaders were raising concerns about the quality of

 Flint’s water.

       Yet despite knowing of these serious risks, these defendants were

 indifferent to them. Shekter-Smith ensured that Flint received the ACO

 that allowed it to transition to the Flint River; Cook signed the final

 permit necessary for the FWTP to begin operations; and Busch resolved

 the regulatory hurdles associated with Flint’s use of the Flint River.

 Furthermore, these defendants took steps to deceive Flint’s residents into

 continuing to drink and bathe in the contaminated water. Busch and

 Cook misled the EPA by falsely suggesting that the proper corrosion

 control was in use at the FWTP;20 and Busch, Rosenthal, and Prysby




       20  Defendant Cook argues that he never misled the EPA. (Dkt. 735 at 24.)
 According to Cook, he informed the EPA that there was no corrosion control as soon
 as he was asked by the Agency. (Id.) That may be so, but the Court must take
 plaintiffs’ allegations as true at this stage in the litigation.
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 directly or indirectly altered reports to remove results showing high lead

 concentrations in Flint’s water. These actions exhibited a callous

 disregard for plaintiffs’ right to bodily integrity.

       In contrast, plaintiffs do not state a claim against Wyant because

 the allegations do not demonstrate deliberate indifference. Wyant was

 likely aware of the health risks posed by using the Flint River as a water

 source. There is also some indication that he knew the FWTP was not

 utilizing the proper corrosion control techniques and that Flint’s water

 was contaminated. However, the fourth amended complaint contains

 nothing to suggest that Wyant either publicly denied there was a problem

 with Flint’s water, or that he otherwise encouraged Flint residents to use

 the contaminated water. Plaintiffs therefore do not plead that Wyant was

 deliberately indifferent.

                               d. City Defendants and Defendant
                                  Wright

       Finally, plaintiffs allege that defendants Darnell Earley, Gerald

 Ambrose, Howard Croft, Daugherty Johnson, Michael Glasgow, Jeffrey

 Wright, Edward Kurtz, and Dayne Walling violated their right to bodily




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 integrity.21 For the following reasons, plaintiffs state a claim against

 Earley, Ambrose, Croft, Johnson, and Glasgow. They fail to state a claim

 against Wright, Kurtz, and Walling.

                                           *

       Plaintiffs state a bodily integrity claim against Earley and

 Ambrose. It is reasonable to infer that Earley and Ambrose were aware

 of the substantial risk of harm plaintiffs faced. After Flint transitioned

 to the Flint River, they knew about the outbreak of Legionnaires’ disease;

 General Motors stopped using Flint water at its Flint factory because of

 its corrosive nature; and test results revealed high lead levels in two

 locations on the University of Michigan-Flint’s campus. There were even

 growing calls from senior government officials that Flint “should try to

 get back on the Detroit system as a stopgap ASAP before this thing gets

 too far out of control.” (Dkt. 630-3 at 66.) Additionally, plaintiffs plead

 that Earley and Ambrose were indifferent to this risk. Earley publicly




       21 Because it is important to the following analysis, the Court again notes that
 Kurtz, Early, and Ambrose were all at one time Flint’s Emergency Manager. Edward
 Kurtz was the Emergency Manager from August 2012 through July 2013, Darnell
 Earley from September 2013 until January 13, 2015, and Ambrose from January 13,
 2015 through April 28, 2015. Ambrose was also Flint’s Finance Director before he
 became Emergency Manager.
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 denied any connection between the Legionnaires’ disease outbreak and

 Flint’s water, despite knowing that other branches of government

 concluded that there was a link. And he repeatedly refused to consider

 returning to DWSD water. Having replaced Earley as the Emergency

 Manager, Ambrose also refused to return to DWSD. He even went so far

 as rejecting a Flint City Council vote to reconnect to DWSD. In both

 cases, Earley and Ambrose’s conduct thus showed a callous disregard for

 plaintiffs’ right to bodily integrity.

       Similarly, plaintiffs state a claim against Croft, Glasgow, and

 Johnson. As with Early and Ambrose, it is reasonable to conclude that

 these defendants were aware of the substantial risk of harm facing

 plaintiffs. As the transition to the Flint River loomed, all three knew that

 the FWTP was not ready to process the raw water. And Croft, in

 particular, was aware of the lead and Legionnaires’ disease issues that

 followed the transition. Glasgow tested for and found high concentrations

 of lead in the water. He also recognized that Flint was not using corrosion

 control treatment and had no legitimate lead and copper testing in place.

 Moreover, these defendants acted with a callous disregard for plaintiffs’

 right to bodily integrity. Despite knowing that the FWTP was not ready


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 to process the Flint River water, Croft and Johnson pressured Glasgow

 to give the green light to the transition. Johnson later blocked the

 Genesee County Health Department from scrutinizing Flint’s water

 testing process. And Glasgow altered reports to hide high lead

 concentrations in Flint’s water. Croft, Glasgow, and Johnson were thus

 deliberately indifferent by deceiving plaintiffs into thinking that there

 was no problem with Flint’s water.

       In contrast, plaintiffs fail to state a claim against Wright because

 they do not show how he either caused or prolonged their exposure to the

 contaminated water. First, plaintiffs do not plausibly allege that Wright

 caused their exposure because he had no oversight over Flint’s transition

 to the Flint River. Plaintiffs argue that Flint and Genesee County’s water

 systems were unified, suggesting that Wright’s position as Genesee

 County’s Drain Commissioner gave him the means to affect the choice of

 Flint’s water. (Id. at 53–54 (“[B]ecause of the joint operation of the

 combined water systems, each of [the defendants] played a role in the

 decision to provide . . . Flint . . . with the high risk water[.]”).) But the

 fourth amended complaint reveals that the arrangement between Flint

 and Genesee County was a standard contractual relationship. Those in


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 charge of Flint’s system purchased water and then sold it to Genesee

 County. And although Genesee County was required to buy it, the County

 had no say in where it came from. (Id. at 39–40 (“[GCDC] agreed to

 ‘accept water as delivered from the water system of the City [of Flint.]’”).)

 In other words, Wright was in charge of Genesee County’s water system,

 but not Flint’s. (Id. at 53 (“Wright was in control of the County side of the

 jointly operated water systems[.]”).)

       Second, Wright did not prolong plaintiffs’ exposure to the

 contaminated water. Plaintiffs do not plead that Wright took steps to

 deceive Flint residents about the safety of Flint’s water following the

 transition, or that he otherwise played a role in any coverup. Although

 Wright may have been aware of the risk of harm plaintiffs faced, he did

 not cause their injuries.22

       The same goes for Kurtz and Walling. Here too, plaintiffs fail to

 state a claim against these defendants because they do not show how they

 caused or prolonged plaintiffs’ exposure to the contaminated water.




       22In its vacated August 1, 2018 opinion and order, the Court denied defendant
 Wrights’ motion to dismiss plaintiffs’ bodily integrity claim. 329 F. Supp. 3d at 407.
 Having reviewed that analysis, the Court reverses its earlier decision.


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  Although Kurtz may have set in motion the chain of events that led to

  the transition to the Flint River, he resigned as Flint’s Emergency

  Manager before the transition and therefore lacked control over the final

  decision. Additionally, Walling was involved in the decision to use the

  Flint River as an interim source of water but he was stripped of virtually

  all authority over Flint’s operations during emergency management.

  Plaintiffs also do not allege that either of these defendants deceived

  plaintiffs about the safety of Flint’s water or that defendants helped

  coverup the crisis. Thus, plaintiffs have failed to state a claim against

  these defendants.23

        In summary, plaintiffs state a claim against Earley, Ambrose,

  Croft, Glasgow, and Johnson. Plaintiffs do not state a claim against

  Wright, Kurtz, and Walling.

                            2. Equal Protection

        In Counts II and III, the African American plaintiffs allege that

  defendants Snyder, Dillon, Wright, Ambrose, Kurtz, Earley, Wyant,


        23 Defendant Kurtz did not file a motion to dismiss prior to the Court’s vacated
  August 1, 2018 opinion and order. However, the city defendants’ supplemental brief
  argues that he should be dismissed from the case because plaintiffs have failed to
  state a claim against him. (Dkt. 738 at 11–12). The Court treats these arguments as
  Kurtz’s motion to dismiss.
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  Shekter-Smith, Prysby, and Busch violated their right to equal protection

  under the Fourteenth Amendment. For the reasons set forth above,

  plaintiffs fail to state a claim. See supra Section II.d.ii.2.

                          3. Conspiracy

        In Count IV, plaintiffs bring suit under § 1985(3) alleging that

  defendants Snyder, Dillon, Wright, Ambrose, Kurtz, and Earley

  conspired to violate their rights. For the reasons set forth above, plaintiffs

  fail to state a claim. See supra Section II.d.ii.4.

                          4. State-Created Danger

        In Count IX, plaintiffs allege that the government defendants

  violated their right to be free from a state-created danger. (Dkt. 620-3 at

  208.) Plaintiffs plead that the government defendants created the

  conditions that led to the Flint Water Crisis and then attempted to cover

  up the resulting risk of harm. (Id.) In their view, because the government

  defendants knew or should have known of the danger they created, they

  violated the Due Process Clause of the Fourteenth Amendment. (Id. at

  208–09.) Defendants move to dismiss. (Dkt. 294 at 13–16; Dkt. 282 at 23–

  25; Dkt. 281 at 28–30; Dkt. 279 at 35–37; Dkt. 277 at 18–22; Dkt. 276 at

  19–20; Dkt. 273 at 24–32.)


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        In its vacated August 1, 2018 opinion and order, the Court granted

  defendants’ motions to dismiss an identical count. Nothing in the fourth

  amended complaint affects the Court’s earlier analysis. Moreover,

  plaintiffs have not subsequently challenged this part of the August 1

  ruling.24 There, the Court stated that:

              To bring a state[-]created danger claim, the individual
        must show: (1) an affirmative act by the state which either
        created or increased the risk that the plaintiff would be
        exposed to an act of violence by a third party; (2) a special
        danger to the plaintiff wherein the state’s actions placed the
        plaintiff specifically at risk, as distinguished from a risk that
        affects the public at large; and (3) the state knew or should
        have known that its actions specifically endangered the
        plaintiff.

  329 F. Supp. 3d at 392 (quoting Jones v. Reynolds, 438 F.3d 685, 690 (6th

  Cir. 2006)). With respect to (1), the Court explained that:

              Plaintiffs do not allege that any defendant created or
        increased the risk that they would be exposed to an act of
        violence by a third party. They argue, however, that they do
        not need to, based on Schneider v. Franklin Cty., 288 F. App’x.
        247 (6th Cir. 2008). In that case, the Sixth Circuit analyzed a
        state-created danger claim without referencing the third-
        party requirement of the test. Id. at 252.

             However, it is clear that Schneider applied an
        incomplete version of this circuit’s test for a state-created

        24 Plaintiffs have not waived the right to appeal this issue. In their original
  response to defendants’ motions to dismiss, plaintiffs argued at length that their
  state-created danger claim should proceed. (Dkt. 379 at 78–86.)
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       danger claim. The Schneider court cited Kallstrom v. City of
       Columbus, 136 F.3d 1055, 1066 (6th Cir. 1998) in setting forth
       the state-created danger standard. In doing so, however, the
       Schneider court omitted Kallstrom’s reference to the threat of
       violence by a private third party, and then proceeded to
       analyze the claim without that requirement.

             In support of the argument that the Schneider standard
       is good law in the Sixth Circuit, plaintiffs cite Stiles ex rel.
       D.S. v. Grainger Cty., 819 F.3d 834 (6th Cir. 2016) and
       McQueen v. Beecher Cmty. Sch., 433 F.3d 460 (6th Cir. 2006),
       two cases that also analyzed state-created danger claims.

             Stiles involved a state-created danger claim arising from
       the brutal emotional, psychological, and physical bullying of a
       junior high school student by other students. Id. at 840–46.
       The Stiles court stated:

             As a general rule, the State has no obligation to
             protect the life, liberty, of property of its citizens
             against invasion by private actors. Two exceptions
             to this rule exist: 1) where the State enters into a
             “special relationship” with an individual by taking
             that person into its custody, and 2) where the State
             creates or increases the risk of harm to an
             individual. Because DS was harmed by students
             rather than school or government officials, there is
             no constitutional violation unless one of these two
             exceptions applies.

       Id. at 853 (citing DeShaney v. Winnebago Cty. Dep’t of Soc.
       Servs., 489 U.S. 189 (1989)) (internal citations omitted)
       (emphasis added). The court then cited McQueen, supra, for
       the legal standard for a state-created danger claim. Id. at 854.
       The standard set forth was: “(1) an affirmative act that
       creates or increases the risk to the plaintiff, (2) a special
       danger to the plaintiff as distinguished from the public at


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       large, and (3) the requisite degree of state culpability.” Id. at
       854 (citing McQueen, 433 F.3d at 464).

             In McQueen, the Sixth Circuit considered whether a
       grant of summary judgment on a state-created danger claim
       was proper where a first-grader shot and killed his classmate,
       and the deceased child’s parent sued the teacher, principal,
       and school district. McQueen, 433 F.3d at 462–63. The
       plaintiff brought a variety of claims, among them a state-
       created danger claim for failing to protect her daughter from
       her classmate. Id. at 463.

              Quoting Kallstrom, the McQueen court stated that
       “[l]iability under the state-created danger theory is predicated
       upon affirmative acts by the state which either create or
       increase the risk that an individual will be exposed to private
       acts of violence.” Id. at 464 (quoting Kallstrom, 136 F.3d at
       1066). The court also noted that a state-created danger claim
       is traditionally rejected where the act “did not create or
       increase the risk of private violence to the plaintiff.” Id. at 465
       (collecting cases).

             In most other circuits, the third-party requirement is
       also consistently applied. See Rivera v. Rhode Island, 402 F.3d
       27, 34–35 (1st Cir. 2005); Lombardi v. Whitman, 485 F.3d 73,
       80 (2d Cir. 2007); Pinder v. Johnson, 54 F.3d 1169, 1175 (4th
       Cir. 1995); Doe ex rel. Magee v. Covington Cty. Sch. Dist. ex
       rel. Keys, 675 F.3d 849, 857 (5th Cir. 2012); Fields v. Abbott,
       652 F.3d 886, 889 (8th Cir. 2011); Gray v. Univ. of Colo. Hosp.
       Auth., 672 F.3d 909, 917 (10th Cir. 2012); Perez-Guerrero v.
       U.S. Atty. Gen., 717 F.3d 1224, 1233–34 (11th Cir. 2013);
       Butera v. Dist. Of Columbia, 235 F.3d 637, 651 (D.C. Cir.
       2001); but see Doe v. Village of Arlington Heights, 782 F.3d
       911, 916–17 (7th Cir. 2015) (omitting third-party
       requirement).

            In Kneipp v. Tedder, 95 F.3d 1199, 1204–11 (3d Cir.
       1996) the Third Circuit analyzed the third-party requirement
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       for a state-created danger claim and declined to apply it to the
       claim in front of it, instead opting to apply a standard
       requiring only that an individual be placed in danger.
       However, the Third Circuit has inconsistently applied the
       third-party requirement to state-created danger claims since
       Kneipp. See, e.g., LaGuardia v. Ross Twp., 705 F. App‘x. 130,
       133 (3d Cir. 2017) (applying the requirement); but see Henry
       v. City of Erie 728 F.3d 275 (3d Cir. 2013) (omitting the
       requirement).

             Because all events related to plaintiffs’ claims occurred
       in Michigan, the Court must apply the clearly established
       state-created danger test set forth in Kallstrom, McQueen,
       Stiles, and Jones. The complaint does not plead that any act
       taken by any state actor created or increased the risk of
       private violence to the plaintiffs.

             At oral argument, plaintiffs’ counsel argued that the
       third-party requirement could be satisfied by, for instance, a
       situation where a mother fed her child formula mixed with
       tainted Flint water. The mother would be the private actor,
       and the child would be the individual harmed under the state-
       created danger theory. (Dkt. 532 at 212.)

             The Court rejects this theory in its entirety. The
       residents of Flint were all made to use contaminated water
       that leached lead and bacteria from old lines. Parents, many
       of them struggling to even pay for the water the city provided,
       whether from the DWSD or the Flint River, used what
       resources they had available to them. For much of the time
       the Flint River was used as Flint’s primary water source,
       residents did not and could not have known the danger the
       water posed to them or their families. To entertain plaintiffs’
       counsel’s theory of harm, the Court would have to find that a
       loving parent, seeking only to provide their child with food or
       water, committed an intentional or at least negligent act of
       violence against his or her own child. According to counsel,
       every person who showered or washed their hands or made
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       coffee or boiled pasta with bacteria-infected, lead-tainted
       water provided to them by their government committed
       repeated acts of violence against themselves, their families,
       their friends, and their guests. This is not what the state-
       created danger theory was developed to address.

             Plaintiffs have failed to plead that the actions of the
       governmental actors named in this claim created or increased
       the risk of harm from a third party, and for this reason, this
       particular claim must be dismissed.

  Id. at 392–94. And with respect to (2), the Court stated that:

             Even if the Court could determine that the third-party
       harm requirement of plaintiffs’ state-created danger claim
       had been met, such a claim will stand only where “the
       government could have specified whom it was putting at risk,
       nearly to the point of naming the possible victim or victims.”
       Reynolds, 438 F.3d at 696. The state-created danger must be
       a “special danger” to a “discrete class of individuals.” Schroder
       v. City of Fort Thomas, 412 F.3d 724, 729 (6th Cir. 2005). It is
       not sufficient for the purposes of this claim if the specific
       danger is “no more a danger to [the plaintiff] than to any other
       citizen on the City streets.” Jones v. City of Carlisle, 3 F.3d
       945, 949–50 (6th Cir. 1993). The danger may not be one that
       “affects the public at large.” Kallstrom, 136 F.3d at 1066.

             Plaintiffs argue that the entire population of Flint
       constitutes a discrete class of individuals. (Dkt. 379 at 82–84.)
       They argue that the “government could have specified whom
       it was putting at risk, nearly to the point of naming the
       possible victim or victims,” Reynolds, 438 F.3d at 696, because
       “identifying those at risk would have been as simple as
       looking up the names and addresses of residents and
       businesses serviced by Flint’s water.” (Dkt. 379 at 83.)

            The Sixth Circuit has routinely held that threats to any
       person on the street or to the public at large do not constitute
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       risks that are specific enough for the purposes of a state-
       created danger claim. See, e.g., City of Carlisle, 3 F.3d at 950
       (the city permitting an epileptic individual to maintain a
       driver’s license posed a danger to any citizen on the streets);
       Janan v. Trammell, 785 F.2d 557, 560 (6th Cir. 1986) (a
       parolee’s release endangered plaintiff as a member of the
       public at large); Schroeder, 412 F.3d at 729 (government’s
       creation of a street, and management of traffic conditions,
       posed a general risk to the public).

             The largest groups the Sixth Circuit has determined
       were able to pursue a state-created danger claim were in
       Kallstrom, where a city’s release of private information from
       the personnel files of three undercover officers “placed the
       personal safety of the officers and their family members, as
       distinguished from the public at large, in serious jeopardy,”
       id.; 136 F.3d at 1067, and in McQueen, where the risk of a
       shooter in a school posed a risk to the five students in the room
       with him and even those in the school building, but all those
       outside the school building constituted “the general public.”
       Id.; 433 F.3d at 468.

            An entire city, plus all those who visit, work, or pass
       through that city is, by definition, “the general public.”
       Plaintiffs set the bar for the general public at “the general
       public of Michigan residents.” (Dkt. 379 at 84.) However,
       there is no case that supports this definition.

             This claim must also be dismissed for failure to satisfy
       this element of the state-created danger test.

  Id. at 394–95. The Court adopts this reasoning in full. Defendants

  motions to dismiss the state-created danger Count are therefore granted.




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                         5. Monell Liability

       In Count VI, plaintiffs plead a standalone claim against the City of

  Flint under Monell v. Department of Social Services of the City of New

  York, 436 U.S. 658 (1978). Plaintiffs allege that Flint is responsible for

  the unconstitutional conduct of its employees because they committed

  unlawful acts pursuant to Flint’s custom or policy. As set forth above,

  plaintiffs state a claim that the city defendants Earley, Ambrose, Croft,

  Glasgow, and Johnson violated their right to bodily integrity. See supra

  Section III.d.i.1.d. And their Monell claim can rely on these underlying

  constitutional violations. See Robertson v. Lucas, 753 F.3d 606, 622 (6th

  Cir. 2014). Flint moves to dismiss. (Dkt. 276 at 34–35.)

       Under Monell, a plaintiff can bring a § 1983 claim against a city for

  the unconstitutional conduct of its employees if the employees’ conduct

  implemented an unofficial custom, or “a policy statement, ordinance,

  regulation, or decision officially adopted and promulgated by that body’s

  officers.” 436 U.S. at 690. In its vacated August 1, 2018 opinion and order,

  this Court held that the state-appointed emergency managers were final

  decisionmakers for Flint with respect to the decision to provide residents

  with contaminated water. 329 F. Supp. 3d at 421–22. As such, their


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  actions represented official policy and Flint could be held liable for their

  conduct insofar as it violated plaintiffs’ rights. (Id. at 422.)

        Following the Court’s August 1 ruling, Flint challenged the decision

  and requested that the Court certify the issue for interlocutory appeal.

  (Dkt. 565.) The Court denied that request, explaining that “well-

  established precedent” controlled its decision. (Dkt. 659). And the Court

  now adopts the reasoning from its August 1, 2018 opinion and order and

  its subsequent order denying Flint’s request to certify the question of

  Monell liability for interlocutory appeal. Because the emergency

  managers were state officials whose edicts or acts may fairly be said to

  represent official city policy, plaintiffs have stated a Monell claim with

  respect to the alleged bodily integrity violations. But plaintiffs fail to

  state a Monell claim for any other type of constitutional violation.

                   ii. State Claims

                          1. ELCRA

        In Count V, plaintiffs allege that defendants Snyder, Dillon,

  Wright, Ambrose, Kurtz, Earley, the City of Flint, Wyant, Shekter-

  Smith, Prysby, and Busch violated the rights guaranteed them under




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  Michigan’s ELCRA. For the reasons set forth above, plaintiffs fail to state

  an ELCRA claim. See supra Section II.d.ii.3.

                         2. Professional Negligence

       In Counts VII and VIII, plaintiffs allege that defendants LAN and

  Veolia committed professional negligence. (Dkt. 620-3 at 199–207.)

  Neither LAN nor Veolia have moved to dismiss these counts in their

  entirety. However, Veolia asks the Court to dismiss the claims of several

  named plaintiffs based on alleged pleading deficiencies. (Dkt. 274 at 26–

  35.) This includes Rhonda Kelso, individually and on behalf of her minor

  child; David Munoz; Amber Brown, on behalf of her minor child; Frances

  Gilcreast; EPCO Sales, LLC; and, Angelo’s Coney Island Palace, Inc. (Id.)

       In its vacated August 1, 2018 opinion and order, the Court rejected

  all but one of Veolia’s requested dismissals. 329 F. Supp. 3d at 424–25.

  The third amended complaint alleged that Veolia became involved in the

  Flint Water Crisis in February 2015. However, Kelso stated only that

  they “bathed, washed, and cooked with the water until at least January

  2015.” (Dkt. 349 at 12–13.) Because other plaintiffs specifically pleaded

  that they used Flint River water for the entire time or did not otherwise

  mention a limited period of use, the Court inferred that Kelso and her


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  minor child did not use the water after February 2015 and dismissed

  their claims against Veolia. 329 F. Supp. 3d at 424.

       In the fourth amended complaint, Kelso revises her allegations. She

  and her daughter now allege that they “bathed, washed, and cooked with

  the water until at least November 2015.” (Dkt. 620-3 at 14 (emphasis

  added).) As a result, Veolia’s motion to dismiss as to Kelso must be

  denied. And since the fourth amended complaint makes no changes with

  respect to the other plaintiffs, the Court adopts the remainder of its

  August 1 decision.

                         3. Fraud

       In Count X, plaintiffs allege that defendant Veolia committed fraud

  by intentionally making false representations about the safety of Flint’s

  water. (Id. at 210–12.) Veolia moves to dismiss, arguing that plaintiffs’

  complaint fails to identify any false representations (Dkt. 274 at 17–19),

  plaintiffs do not adequately plead intent (id. at 19–20), and plaintiffs fail

  to explain how they detrimentally relied on any falsity. (Id. at 20–21.)

       In its vacated August 1, 2018 opinion and order, the Court granted

  defendants’ motions to dismiss an identical count. As with plaintiffs’

  state-created danger claim, nothing in the fourth amended complaint


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  affects the Court’s earlier analysis. Moreover, plaintiffs have not

  subsequently challenged this aspect of the August 1 ruling.25

       There, the Court explained that:

            Unlike other claims at the motion to dismiss stage, fraud
       claims are subject to a higher pleading standard. The
       elements of fraud must be pleaded with particularity, except
       that malice, intent, knowledge, and other conditions of a
       person’s mind may be alleged generally. Fed. R. Civ. P. 9(b).

             In Michigan, a claim for common law fraud requires a
       plaintiff to plead:

                (1)    That    defendant       made    a     material
                representation; (2) that it was false; (3) that when
                he made it he knew that it was false, or made it
                recklessly, without any knowledge of its truth, and
                as a positive assertion; (4) that he made it with the
                intention that it should be acted upon by plaintiff;
                (5) that plaintiff acted in reliance upon it; and (6)
                that he thereby suffered injury.

       Hi–Way Motor Co. v. Intl. Harvester Co., 398 Mich. 330, 336
       (1976) (internal citations and quotation marks omitted).

             All plaintiffs allege that Veolia defrauded them, based
       on three statements in Veolia’s 2015 Interim Report. Those
       statements are: 1) that Flint’s water was “safe” and “in
       compliance with drinking water standards”; 2) that the
       observed discoloration was merely aesthetic and not
       indicative of water quality or health problems; and 3) that
       medical problems arose in Flint because “[s]ome people may
       be sensitive to any water.” (Dkt. 349 at 146.) Plaintiffs’
       complaint references no other specific statements made by

       25   Again, plaintiffs have not waived the right to appeal this issue.
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       Veolia, so these are the only three statements the Court may
       consider in evaluating the sufficiency of their pleadings. See
       Republic Bank & Trust Co. v. Bear Stearns & Co., 683 F.3d
       239, 247 (6th Cir. 2012) (holding that fraudulent statements
       must be specifically alleged, including the time and place the
       statements were made).

             Veolia raises several arguments regarding the
       sufficiency of the fraud claim. Chief among those argument
       are that the specific statements set forth above are
       inaccurately quoted, that plaintiffs fail to plead Veolia’s intent
       and knowledge properly, and that plaintiffs fail to plead their
       own reliance properly.

             At Veolia’s request, the Court has reviewed the quoted
       statements in their full context in Veolia’s 2015 Interim
       Report. The Court may review documents incorporated into
       the complaint by reference, such as documents relied on for
       the specific statements supporting a fraud claim. Tellabs, Inc.
       v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). The
       statements Veolia challenges are, for the purposes of the
       assertion of a fraud claim at the motion to dismiss stage,
       accurate and properly pleaded.

             Further, the entirety of the pleading sets forth the basis
       for the plaintiffs’ claim that these statements were false. The
       complaint alleges the tainted water in Flint in February 2015
       was not safe, in compliance with drinking water standards, or
       merely aesthetically displeasing; that the tainted water did
       specifically cause medical problems apart from the standard
       problems that might be associated with a population’s
       sensitivity to a clean water supply; and that this information
       was generally known absent Veolia’s representations to the
       contrary.

             Plaintiffs allege that “[u]pon information and belief, the
       Veolia Defendants knew the representations were made
       recklessly without any knowledge about their veracity” and
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       that the representations were made “with the intention that
       Plaintiffs would act and rely on them.” (Dkt. 349 at 147.)
       Allegations of fraud “cannot be based upon information and
       belief, except where the relevant facts lie exclusively within
       knowledge and control of the opposing party, and even then,
       the plaintiff must plead a particular statement of facts upon
       which his belief is based.” Craighead v. E.F. Hutton & Co., 899
       F.2d 485, 489 (6th Cir. 1990).

             At the motion to dismiss stage for a fraud claim, “the
       plaintiff . . . must plead facts about the defendant’s mental
       state, which, accepted as true, make the state-of-mind
       allegation plausible on its face.” Republic Bank & Trust Co.,
       683 F.3d at 247 (internal quotation marks and citation
       omitted). Veolia argues that plaintiffs’ allegation of
       recklessness is insufficiently pleaded. However, the allegation
       meets the fraud pleading standard. Information about
       Veolia’s recklessness in 2015 is solely within the knowledge of
       Veolia’s decision-makers. On a theory of recklessness and
       ignorance about the veracity of a statement in a fraud claim,
       the plaintiffs’ voluminous factual background about the
       information known to Flint, which retained Veolia, and to the
       public at large in 2015, satisfies this pleading requirement. To
       require further pleading regarding Veolia’s alleged
       recklessness would be to ask the plaintiffs to plead facts they
       could not possibly know at this stage.

             To sustain a fraud claim in Michigan, “the party
       claiming fraud must reasonably rely on the material
       representation.” Zaremba Equip., Inc. v. Harco Nat’l Ins. Co.,
       280 Mich. App. 16, 39 (2008) (emphasis in original). As set
       forth above, this information cannot be pleaded based upon
       information and belief, because this information is solely
       within the knowledge of the plaintiffs, not the defendants.

            Plaintiffs’ complaint alleges only that “[u]pon
       information and belief, the Veolia Defendants made the
       representations with the intention that Plaintiffs would act
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       and rely on them, which Plaintiffs did.” (Dkt. 349 at 147.) The
       phrase “which Plaintiffs did” is the sole factual allegation in
       the complaint stating that any plaintiff specifically relied on
       these statements in continuing to drink Flint River water
       after February 2015. That statement lacks any specificity as
       to when or how any plaintiff heard the allegedly fraudulent
       statements, which were set forth in a report purportedly on
       the city’s website.

             At oral argument, plaintiffs argued that specific reliance
       was pleaded with regard to at least one plaintiff: Tiantha
       Williams. The portion of the complaint introducing Williams
       states that “[p]rior to [December 2015], the family trusted
       previous reports that the condition of the water was not an
       immediate health emergency. They also relied on statements
       about the safety of the water that were made in public
       forums.” (Id. at 17.) These general allegations are insufficient
       to specifically plead that Williams heard and relied on Veolia’s
       statements. Between April 2014 and December 2015,
       numerous parties, including Earley in October 2014, Busch
       and Shekter-Smith on March 13, 2015, and Wurfel on July 10
       and July 24, 2015, issued allegedly false statements to the
       public. The general reference to “statements” may include any
       or all of these other false statements, and do not specifically
       implicate Veolia’s 2015 Interim Report.

              In the alternative, plaintiffs argue that reliance may be
       inferred because Veolia’s report was available on Flint’s
       public website. (Dkt. 379 at 123 n.47.) Plaintiffs failed to plead
       this information in the complaint, and the Court cannot rely
       on it to determine if reliance was properly pleaded. Even if the
       Court considers this additional information, the particular
       plaintiffs in this case do not plead that they specifically
       became aware of and relied on Veolia’s statements in
       continuing to use Flint water after February 2015.

            Plaintiffs argue that they need not show direct reliance
       on a fraudulent misrepresentation to assert a fraud claim,
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       citing Nernberg v. Pearce, 35 F.3d 247 (6th Cir. 1994). In
       Nernberg, a plaintiff properly asserted a fraud claim where
       fraudulent misrepresentations were made to a third party,
       and the misrepresentations were repeated by that third party
       to induce the plaintiff’s reliance. Id. at 251. However, the
       plaintiff still specifically demonstrated that he actually heard
       and relied on the misrepresentations. Nernberg does not mean
       that a plaintiff may allege a fraud claim where a third party
       heard and relied on a false statement, but the plaintiff does
       not allege with particularity that he or she also did so.

              Finally, plaintiffs argue that questions as to reliance
       “pertain[s] to questions of fact, not sufficiency of the
       pleadings.” (Dkt. 379 at 124 (citing State Farm Mut. Ins. Co.
       v. Elite Health Ctrs., Inc., No. 16-cv-13040, 2017 U.S. Dist.
       LEXIS 82736, at *25 (E.D. Mich. May 31, 2017)). Elite Health
       does not stand for the rule that a plaintiff does not need to
       plead reliance with particularity. That case did not concern a
       defendant’s argument that the pleadings were insufficient as
       to reliance. Instead, the defendant in Elite Health argued that
       the plaintiff’s allegations were “contradictory and/or self[-
       ]serving,” and that contention pertained to questions of fact
       rather than sufficiency of the pleadings. Id. The Elite Health
       complaint contained a “116-page description of how the
       alleged scheme to defraud” worked, id. at *23, and determined
       that the plaintiff had properly “alleged that it justifiably
       relied on Defendants’ misrepresentations,” id. at *26.

             This analysis does not foreclose a fraud claim against
       Veolia by other plaintiffs. However, those plaintiffs must
       plead the necessary elements of their fraud claim with
       particularity, including their reliance on Veolia’s allegedly
       fraudulent statements. Because these plaintiffs did not plead
       the reliance element of their fraud claim with sufficient
       particularity, their fraud claim must be dismissed.




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  329 F. Supp. 3d at 417–20. The Court adopts this reasoning in full.

  Therefore, plaintiffs fail to state a fraud claim.

                           4. Negligent Infliction of Emotional Distress

       In Count XI, plaintiffs allege that LAN and Veolia negligently

  caused them emotional distress. (Dkt. 620-3 at 212.) In its vacated

  August 1, 2018 opinion and order, the Court addressed the identical

  claim and decided that it was actually “a request for emotional distress

  damages arising from the negligence claims asserted against LAN and

  Veolia.” 329 F. Supp. 3d at 421. Nothing in the fourth amended complaint

  affects the Court’s earlier analysis, and again plaintiffs have not

  subsequently challenged this aspect of the August 1 ruling. Specifically,

  the Court stated that:

             Plaintiffs assert what they term a negligent infliction of
       emotional distress (“NIED”) claim against LAN and Veolia.
       (Dkt. 349 at 148.) The elements of a claim for [NIED] under
       Michigan law are:

             (1) serious injury threatened or inflicted on a
             person, not the plaintiff, of a nature to cause
             severe mental disturbance to the plaintiff, (2)
             shock by the plaintiff from witnessing the event
             that results in the plaintiff’s actual physical harm,
             (3) close relationship between the plaintiff and the
             injured person (parent, child, husband, or wife),
             and (4) presence of the plaintiff at the location of
             the accident at the time the accident occurred or,
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             if not presence, at least shock                “fairly
             contemporaneous” with the accident.

       Hesse v. Ashland Oil, Inc., 466 Mich. 21, 34 (2002).

             Plaintiffs argue that they are bringing a “direct
       negligent infliction of emotional distress” claim, different
       from the NIED claim set forth in Hesse. Plaintiffs rely on
       Daley v. LaCroix, 384 Mich. 4 (1970), to argue that NIED does
       not require an injury to a third party for a plaintiff to pursue
       the claim. In Daley, the Michigan Supreme Court considered
       whether a plaintiff alleging “a definite and objective physical
       injury [ ] produced as a result of emotional distress
       proximately caused by defendant’s negligent conduct . . . may
       recover in damages for such physical consequences to himself
       notwithstanding the absence of any physical impact upon
       plaintiff at the time of the mental shock.” Id. at 12–13[.]

             Daley did not create a cause of action for [NIED] absent
       an injury to a closely related third party. “[R]ather than create
       a cause of action, [Daley and cases following it] merely allow
       damages for emotional distress when the plaintiff has
       prevailed on a negligence cause of action.” McNeil ex rel.
       McNeil v. Metinko, Nos. 194595, 194596, 1998 Mich. App.
       LEXIS 2506, at *7 –8 (Mich. Ct. App. Mar. 13, 1998).

              Plaintiffs rely on two other cases, Apostle v. Booth
       Newspapers, Inc., 572 F. Supp. 897, 900 (W.D. Mich. 1983)
       and Maldonado v. Nat. Acme Co., 73 F.3d 642, 645–46 (6th
       Cir. 1996), to argue that Daley did establish a tort of negligent
       infliction of emotional distress that did not require an injury
       to a third party. First, both cases predate Hesse, in which the
       Michigan Supreme Court limited the tort as set forth above.
       Second, Hesse explicitly stated that “[t]he common-law cause
       of action for negligent infliction of emotional distress has been
       recognized and applied in Michigan, although this Court has
       never ruled on the issue.” Hesse, 466 Mich. at 34. It is
       impossible to read Daley, a Michigan Supreme Court decision,
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       to create a type of NIED claim when Michigan courts have
       stated that Daley did not do so, and when as of 2002, the
       Michigan Supreme Court had not recognized NIED at all.

             Further, an NIED claim “clearly contemplates a sudden,
       brief, and inherently shocking accidental event which causes
       the injury . . . , which contemporaneously, and by its very
       nature, results in emotional and physical injury to the
       plaintiff.” Brennan v. Chippewa Cty. War Mem’l Hosp., Inc.,
       Nos. 315795, 318452, 318594, 2014 Mich. App. LEXIS 1912,
       at *25 (Oct. 16, 2014) (further citation omitted). Plaintiffs do
       not allege that either LAN or Veolia committed an act that
       was sudden or brief, but instead allege that over a period of
       months for Veolia and even years for LAN, these defendants
       repeatedly failed to properly evaluate or treat Flint’s water,
       resulting in prolonged injury to all who used Flint River water
       after April 25, 2014.

              On review of plaintiff’s complaint, this claim is a request
       for emotional distress damages arising from the negligence
       claims asserted against LAN and Veolia. Because the claim is
       presented as one for NIED, it is dismissed on the grounds that
       it fails to plead an NIED claim under Michigan law. However,
       this ruling does not preclude plaintiffs from seeking emotional
       distress damages arising from their surviving negligence
       claims.

  Id. at 420-21. The Court adopts this reasoning in full. Plaintiffs may still

  pursue damages for emotional suffering, where permitted.

                         5. Negligence

       In Count XII, plaintiffs allege that defendants LAN and Veolia were

  negligent with respect to their conduct in Flint, causing plaintiffs injury.

  (Dkt. 620-3 at 212–14.) LAN and Veolia move to dismiss on the ground
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  that plaintiffs’ negligence claim is preempted by plaintiffs’ claim for

  professional negligence.

       In the context of the Flint Water Cases, the Court has twice held

  that negligence claims against LAN and Veolia may only be brought as

  professional negligence claims. First, in Guertin, the Court held that the

  professional negligence claims against LAN and Veolia could proceed, but

  the ordinary negligence claims had to be dismissed. 2017 U.S. Dist.

  LEXIS 85544, at *90–93. Second, in its vacated August 1, 2018 opinion

  and order, the Court determined that since “[a]n ordinary layperson

  would have little to no knowledge about the appropriate methods and

  techniques for remediating, containing, and eliminating lead and

  bacteria in a municipal water supply,” the claim was properly brought as

  a professional negligence claim and it dismissed the ordinary negligence

  claim. 329 F. Supp. 3d at 423–24.

       What was true in Guertin and the Court’s August 1 decision is true

  here. Plaintiffs have thus failed to state a claim to ordinary negligence.




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                         6. Gross Negligence

       In Count XIII plaintiffs allege that defendants LAN and Veolia

  committed gross negligence. (Dkt. 620-3 at 215–17.) In Count IV,

  plaintiffs allege the same against defendants Snyder, Dillon, Lyon,

  Shekter-Smith, Rosenthal, Busch, Cook, Prysby, Wurfel, Wright, Kurtz,

  Earley, Ambrose, Croft, Johnson, and Glasgow. (Id. at 217–19.) For the

  reasons set forth above in Section II.d.ii.5, plaintiffs fail to state a claim

  with respect to Count IV. And for the following reasons, plaintiffs also

  fail to state a claim with respect to Count XIII.

                                        *

       Gross negligence is not an independent cause of action in Michigan.

  See Xu v. Gay, 257 Mich. App. 263, 268–69 (2003). At common law in

  Michigan, gross negligence was not a higher degree of negligence; it was

  a device to escape contributory negligence. Gibbard v. Cursan, 225 Mich.

  311, 319 (1923), overruled by Jennings v. Southwood, 446 Mich. 125, 131–

  132 (1994), abrogated on other grounds. However, Michigan replaced the

  rule of contributory negligence with comparative negligence. Placek v.

  Sterling Heights, 405 Mich. 638, 650 (1979). And the Michigan Supreme

  Court therefore discarded the doctrine of common law gross negligence,


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  recognizing that it had outlived its practical usefulness. Jennings, 446

  Mich. at 129.

        Gross negligence has since received a new life in the statutory

  context. See supra Section II.d.ii.5. The GTLA confers various degrees of

  immunity on tortious government actors. § 691.1407. This includes

  lower-level government officials, unless their conduct amounted to gross

  negligence that was the proximate cause of a plaintiff’s injuries. §

  691.1407(2).

        But despite its reference to gross negligence, neither the GTLA nor

  any other immunity statute created a new tort. See Rakowski v. Sarb,

  269 Mich. App. 619, 627 (2006); Beaudrie v. Henderson, 465 Mich. 124,

  139 n.12 (2001). Statutory gross negligence is instead an affirmative

  defense to be raised by a defendant. Odom v. Wayne Cty., 482 Mich. 459,

  479 (2008). And plaintiffs bringing a tort claim must still plead the

  common law elements of ordinary negligence. Rakowski, 269 Mich. App.

  at 627.26


        26 Perhaps because a plaintiff must sometimes show gross negligence to
  overcome immunity, courts have permitted claims styled as gross negligence to go
  forward under ordinary tort principles. See, e.g., Holland v. City of Highland Park,
  No. 324312, 2016 Mich. App. LEXIS 555 (Mar. 17, 2016); FOLTS v. CIGNA Ins. Co.,
  No. 210163, 1999 Mich. App. LEXIS 740, at *1 (Aug. 6, 1999).
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        With this in mind, although plaintiffs style their proposed claim as

  one of gross negligence, the Court must treat it as one of ordinary

  negligence. And for the reasons set forth in Section III.d.ii.5., plaintiffs’

  claims of ordinary negligence against LAN and Veolia must be brought

  as claims of professional negligence. Thus, plaintiffs fail to state a claim

  to gross negligence.

                           7. Exemplary Damages

        Plaintiffs seek exemplary damages against defendants Veolia and

  LAN, solely in connection with their alleged professional negligence.

  (Dkt. 620-3 at 199–207, 219.) In response, Veolia and LAN move to

  dismiss the requested relief. (Dkt. 283 22–23; Dkt. 274 at 22–26.)27 In

  Guertin, under similar circumstances, this Court stated that “plaintiffs

  may be entitled to exemplary damages.” 2017 U.S. Dist. LEXIS 85544, at

  *94. And the Court therefore permitted “[t]heir request for exemplary

  damages [to] proceed.” Id. However, for the reasons stated below, Guertin

  was at odds with Michigan precedent. And because Michigan law controls




        27  The fourth amended complaint also seeks punitive damages. However,
  plaintiffs’ claims against Veolia and LAN sound in Michigan law, and plaintiffs
  concede that Michigan law prevents them from seeking such relief in this case. (Dkt.
  379 at 136 n.54.) As such, plaintiffs fail to state a claim to punitive damages.
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  the question of damages in counts involving professional negligence,

  plaintiffs fail to state a claim to exemplary damages.

                                       *

       In   Michigan,    exemplary    damages     are   a   special    class   of

  compensatory damages. They are available under limited circumstances

  to reimburse for a non-economic harm. Veselenak v. Smith, 414 Mich.

  567, 573–74 (1982); Unibar Maint. Servs., Inc. v. Saigh, 283 Mich. App.

  609, 630 (2009). And in the context of exemplary damages, this only

  includes losses for the “humiliation, sense of outrage, and indignity” that

  results from malicious, willful, and wanton conduct. Kewin v. Mass. Mut.

  Life Ins. Co., 409 Mich. 401, 419 (1980); B & B Inv. Grp. v. Gitler, 229

  Mich. App. 1, 9–10 (1998).

       The malicious, willful, and wanton element is equivalent to malice.

  See Peisner v. Detroit Free Press, Inc., 421 Mich. 125, 136 (1984). Because

  damages for mental pain and anxiety are normally included under actual

  damages, only intentional actions that show a reckless disregard for a

  plaintiff’s rights will suffice. See Veselenak, 414 Mich. at 574–75; McPeak

  v. McPeak, 233 Mich. App. 483, 487–88 (1999). In other words, mere




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  negligence is insufficient. A defendant’s conduct must amount to more

  than a lack of care. See Veselenak, 414 Mich. at 574–75.

       Here, the fact that professional negligence is the only claim

  plaintiffs raise to support exemplary damages against LAN and Veolia

  negates the mental element required for the award. It is the

  reprehensibility of a defendant’s conduct that intensifies the emotional

  injury and justifies exemplary damages not the magnitude of the harm

  caused. See McPeak, 233 Mich. App. at 488; Gitler, 229 Mich. App. at 10.

  Plaintiffs do not state a claim for allegedly malicious, willful, and wanton

  conduct. In fact, they do not state a claim involving exemplary damages

  for any intentional tort. Rather, they argue that LAN and Veolia were

  professionally negligent and that their negligence caused the Flint Water

  Crisis. As such, plaintiffs fail to state a claim for exemplary damages.

                 iii. LAN’s Motion for a More Definite Statement

       Defendant LAN argues that plaintiffs must provide a more definite

  statement in their complaint. (Dkt. 283 at 24.) The Court addressed this

  identical motion in its August 1, 2018 opinion and order, and sees no

  reason to deviate from this prior ruling. Accordingly, for the reasons set

  forth below, the Court denies LAN’s motion.


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            Motions for more definite statements are disfavored,
       and should be granted “only if there is a major ambiguity or
       omission in the complaint that renders it unanswerable.”
       Farah v. Martin, 122 F.R.D. 24, 25 (E.D. Mich. 1988).

             LAN argues that the complaint does not distinguish
       between the Leo A. Daly Company (“LAD”), Lockwood,
       Andrews & Newnam, P.C. (“LAN P.C.”), and Lockwood,
       Andrews & Newnam, Inc. (“LAN, Inc.”), making it impossible
       to tell what each entity did. The Court has addressed the
       relationship between LAD, LAN P.C., and LAN, Inc. in a prior
       opinion. (Dkt. 437.) LAD is the parent company of LAN, Inc.;
       LAN P.C. is a corporation established to satisfy licensing
       requirements for LAN, Inc. to operate in the state of
       Michigan. (Id. at 4.) An agreement between LAD and LAN,
       Inc. establishes a relationship between the two companies in
       which all LAN, Inc. employees are LAD employees and all
       LAN, Inc. revenues go to a joint bank account over which LAD
       had full control. (Id. at 10–11.)

             Because LAN P.C. was a legal entity created solely to
       permit LAN, Inc. to perform work in Michigan, all work LAN,
       Inc. performed can be attributed to LAN P.C. Because all
       employees of LAN, Inc. were actually employees of LAD, all
       work those employees performed, including the work at issue
       in this case, can be attributed to LAD. The complaint treats
       all three companies as a single entity for pleading purposes
       because, based on the corporate structure of the companies,
       they are indistinguishable for the purposes of this lawsuit.

             LAN also objects to being “lumped in” with Veolia with
       regard to some allegations. (Dkt. 283 at 26.) The complaint
       clearly specifies the actions LAN and Veolia each took with
       respect to Flint’s water supply, and sometimes refers to them
       jointly because either both sets of defendants had similar
       duties, if at different times, or because plaintiffs are asserting
       similar claims against both sets of defendants.


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  329 F. Supp. 3d at 391–92.

             e. Conclusion and Order

       IT IS ORDERD THAT,

       Plaintiffs’ motion for leave to amend the complaint (Dkt. 620)

  regarding the bodily integrity claim against Governor Snyder is

  GRANTED. Plaintiffs may include the fourth amended complaint’s new

  factual allegations, including the proposed class definitions. Plaintiffs’

  motion as it relates to these facts is therefore GRANTED. In all other

  respects, the motion is denied.

       Having adopted the fourth amended complaint in part, IT IS

  FURTHER ORDERED THAT,

       Defendants’ motions to dismiss count I (bodily integrity) are

  DENIED with respect to defendants Snyder, Dillon, Wurfel, Shekter-

  Smith, Rosenthal, Busch, Cook, Prysby, Earley, Ambrose, Croft,

  Glasgow, and Johnson, with the exception of claims relating to property

  damage. Additionally, the city defendants’ motion to dismiss count VI

  (Monell liability) is DENIED. LAN and Veolia’s motions to dismiss

  counts VII and VIII (professional negligence) are DENIED. And LAN’s

  motion for a more definite statement is also DENIED.


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       IT IS FURTHER ORDERED THAT,

       All remaining counts are dismissed for failure to state a claim.

  Specifically, defendants’ motions to dismiss count I (bodily integrity) with

  respect to defendants Lyon, Peeler, Wyant, Kurtz, Wright, and Walling

  are GRANTED. And defendants’ motions to dismiss counts II, III, IV, V,

  IX, X, XI, XII, XIII, and XIV are also GRANTED in their entirety.

  Additionally, LAN and Veolia’s motions to dismiss plaintiffs’ claim for

  exemplary and punitive damages are GRANTED.

       IT IS SO ORDERED.

  Dated: April 1, 2019                      s/Judith E. Levy
       Ann Arbor, Michigan                  JUDITH E. LEVY
                                            United States District Judge

                       CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served
  upon counsel of record and any unrepresented parties via the Court’s
  ECF System to their respective email or First Class U.S. mail addresses
  disclosed on the Notice of Electronic Filing on April 1, 2019.

                                            s/Shawna Burns
                                            SHAWNA BURNS
                                            Case Manager




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